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                                                                                                                    U.S. DISTRICT COURT
                                                                                                                        N.D. OF ALABAMA




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UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF ALABAMA,
                                  WESTERN DIVISION

Freya Pearson,
Plaintiff

v.
Patricia A Bradley (Warden),
Federal Bureau of Prisons,
Defendant

                          EMERGENCY INJUNCTION TO STOP BOP SANCTIONS AND SEEK MEDICAL ATTENTION

COMES NOW, Plaintiff Freya Pearson, is requesting this Honorable Court to remove all sanctions, and to order BOP not to
impose any additional sanctions regarding 2 Incident Reports, one dated 12-5-18, and the other dated 12-24-18, both written by
the same Officer, E. Butler.

Officer E. Butler lies in her Incident Reports and has lied in both of these Incident Reports regarding Plaintiffs behavior. Ms.
Butler accused Plaintiff of calling her a "Messy Bitch" on 12-5-18, she lied. She stated that while she was locking down for
count, she came to my door and I said "Messy Bitch" and then she said "excuse me", and then I said "you are a "Messy Bitch". I
was sent to the "SHU" right after count and spent 12 days there. I had been having an issue with Ms. Butler all day, she has
favorites in the unit that do not have to abide by the rules, but she holds the rest of us accountable. I tried to speak to her about
that when she wanted me to do extra duty, and she got upset and sent me to the Lieutenants office when I refused.

Your Honor, I requested my OHO rep Mr. Cano, to look at the tape, because I said that Ms. Butler never had a conversation
with me. He called me in on 12-31-18 to tell me that he reviewed the tape and she did not stop at the door, no longer than it
took to lock it, maybe 3 seconds. What bothered me, was that he said that I would probably still be sanctioned, because there
was no audio, and DHO will stick with the staff. Your Honor, whether their is audio or not, if you say that you had that amount of
conversation with someone, at some point the tape would have to see you talking to that person, you don't need audio. The
tape clearly showed that we never spoke when she came to my door. Ms. E. Butler lied in her Incident Report. I should not be
sanctioned.

When I pressed Mr. Cano a bit, about why the OHO would stick with staff, even though the tape shows that what the staff says
happened, did not, he said, because she does not have a record of lying in reports. Your Honor, if Aliceville refuses to call her a
liar, even after they see video proof that what she says happened in an Incident Report, did not, then how is she ever going to
get the reputation that she deserves, of lying in these reports. They refuse to call it what it is, Lying and falsifying Reports.
Which is a violation of BOP Employee Codes of Conduct 3420.11.

I spent 12 days in the SHU for no explanable reason. Aliceville is only allowed to hold you in the SHU for limited reasons. The
reason they checked for my time in the SHU, was for "pending an Investigation for a violation of BOP regulations". But, I was
sent to the SHU 12-5-18, they held me there until 12-17-18, the investigation was completed 12-6-18 by LT Simmons. They
held me in the SHU for no reason, which is a Law and BOP policy violation. Look at the date that LT Simmons finished his
investigation of the Incident Report. The staff said they would hold me, un(il the SHU LT was ready to let me go. That is not in
line with policy and the law, and should be addressed. (SHU timeline included) I was mistreated, and denied things that I was
supposed to have. No communication with my family, or the court and I asked repeatedly. I received paper after several days of
being in the SHU and begging, no pen, no way to send anything for days. Never did get a pen in the 12 days that I was there.

They routinely hold people in the SHU here at Aliceville while no investigation is going on, and then they do not give the inmate
credit, for the time that they spent there, if there are further sanctions ordered by OHO. They consider that lost time. That is not
right.

The Incident Report Policy 5270.09 is not properly followed at Aliceville, truthfully, it is not followed at a lot of BOP women's
facilities. The Policy requires an investigation into all Incident Reports by a LT or person designated by the Warden, and who is
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!DC-Certified. The policy also states "the investigating officer ..... may not be otherwise involved in the incident". The
investigating LT was involved in this incident. He was sent by a LT approximately 45 minutes before the Incident Report was
written, to address the issues that Ms. Butler and I were having. He came over to the unit and said he did not give a "Fuck" that
he had his date he was retiring 12-27-18, and if he had to come back, he would take the tables from everyone and then the TV.
When he came back at 4 to send me to the SHU, he took the tables from the inmates for no reason. He was "not" supposed to
be investigating that Incident Report, since he was involved.

Apparently, Ms. Butler was trying to write me an Incident Report earlier that day, for Insolence (312) and being "Out of Bounds
(in my own cell), and she was told by the LT office that she could not, because I was not out of bounds, and there was no
profanity used. I called her messy, earlier. Then all of a sudden 3 hours later, I receive an Incident Report with profanity in it for
Insolence, she turned it into "Messy Bitch". Calling women "Bitch" is degrading, and I do not even allow other inmates to play
with me like that. Kind of strange, that she is told by the LT, that she cannot write the lncidGnt Report, because it had no
profanity, then 3 hours later, she writes one and adds profanity.

The Incident Report Process is specific, and Aliceville does not follow the policy. First, the inmate is supposed to be (within
24hrs) properly written an Incident report by the alleging officer, then the LT is supposed to serve it, investigate and make
his/her recommendation. The first problem here, is that LT Simmons did not have a properly written Incident Report to serve.
So, he took it upon himself to "Suspend" the incorrectly written report that he had, until Ms. Butler came back to work, 2 days
later, to re-write the Incident Report. LT Simmons is not allowed to "Suspend" an Incident Report, per the Incident Report Policy
5270.09, unless it is being referred for criminal charges, this one was not. The Incident Report should have been dismissed at
this point. LT Simmons also altered the first Report.

LT Simmons came back on 12-08-18 to serve me the revised Incident Report, that still did not have all of the necessary
information on it, so LT Simmons wrote the missing information himself, again. A violation of policy 5270.09, he was not
authorized to alter the report. LT Simmons served me the 2nd Incident Report through a locked door in the SHU, he slid it under
the door. I could hardly hear what he was saying (Look at the camera). He did not follow BOP policy by taking a statement at
that time, because their was a different charge on this Report than the 1st one. Then LT Simmons stated that he looked at the
video tape, and noted that their was unusual activity on Ms. Butlers behalf, and said it does not help you in this incident. I was
confused by that statement, because he should have taken notice, that Ms. Butler did not have a conversation with me, as she
stated in her Incident Report, when she came to lock my door. Surely, a skilled investigator would notice, that ii the staff says
that she had a conversation with someone, that he should indeed see them conversing, even if he can't hear what they are
saying. LT Simmons was not supposed to be changing the Incident Report, nor was he allowed to be Investigator, since he was
involved. I asked about LT Simmons !DC-Certification since he had announced that he had his date, I wondered if he bothered
to recertify, no information was given regarding that question.

Then you are normally seen by UDC, unless you have had 3 Incident Reports in a year, then you have to go to OHO, and you
look at very severe punishment for small things, and losing your good time days. Which, at the rate these officers fabricate
Incident Reports, it is not unusual to have 3 in a day or a month. Then you are supposed to be served a Notice of Discipline
Hearing at least 24hr BEFORE your OHO hearing. I never received a Notice for my Incident. They served me a Notice for (307)
Disobeying a Direct Order, not Insolence (312) which is what the Incident Report they gave me said. They do not follow proper
procedure.

I had to go to OHO because I had been written 5 Incident Reports in 40 days by one Officer when I was at Pekin Camp. I wrote
the Officer up several times for harassing me, and then I wrote the Camp up, I sent the certified 300 page detailed write-up to
OIA, BOP Regional, Senator Dick Durbin on 8-6-18. I had been in BOP custody for 15 months with no issues, and in 40 days,
this 1 officer wrote 5 Incident Reports, 1 search, threw away 2 Administrative Remedies, and sent me to the SHU lying in her
Incident Reports. The Camp was upset at that write up and they shipped me from a Camp to an FCI. I have 9 points "with" all
those write-ups, and you need 16 points to go to an FCI, they put a "Management Variable" on me to be able to punish me for
writing them up, by sending me as they call (behind the fence). (Regional can email a copy of the write-up)

I want you to know Your Honor, that the conversation that Officer Latimer at Pekin accused me of having with her, another
inmate admitted in her OHO hearing that "she" had that conversation with "Her" not me. They still punished me. This is what
they do. Then OHO also refused to give me the OHO ruling so that I could appeal the decision. I had the Pekin OHO hearing 9-
26-18, and I arrived at Aliceville 11-9-18, I asked the Case Manager at team for a copy, and she got me one 11-30-18. All that
time unable to dispute the charge, and now I have to go to OHO because of the Officer at Pekin, and not being able to dispute
the charge. You are punished "BEFORE" you can fight, and they make fighting so exhausting, by not giving you what you need
to fight, or locking you in the SHU, without paper, pen, etc., and you have deadlines that you can't meet. Then they run you
ragged when you get out of the SHU, you are exhausted, because you are constantly fighting. Just because you exercise your
rights to write the Prisons up for violating your rights.
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They abuse the "Disobeying a Direct Order (307)" they do not give these "Direct" orders that they accuse inmates of
disobeying, or they consider orders, things that they cannot "Order" per policy in the first place. For example, Ms. Butler told me
that she wanted me to do extra duty for having someone in my cell, I refused to do extra duty, however, BOP requires me, to
have to agree to Informal Remedies, so me refusing an Informal Remedy (extra duty) is not disobeying a direct order. They
abuse the "refusing Programs" (306), they write Incident Reports for things that BOP does "not" consider Programs. They
abuse the "Insolence towards staff" (312) this is a big one, they sit daily and use profanity when talking to inmates in
conversations, when they get mad at inmates and the inmates use profanity, then it is considered insolence. My situation, Ms.
Butler was having a conversation that morning (12-5-18) with an inmate, when I walked towards her office, I could hear the
inmate saying, "I would have fucked that Bitch up if I was you Ms. Butler", presumably talking about another inmate, but, now
Ms. Butler is offended and writing an Insolence Report for being called "Messy". They abuse a lot of the Incident Report
Process violations, and there is nowhere that inmates can get real help from.

They say utilize the Administrative Remedy Process 1330.18, and the Courts require that process to be utilized before they will
intervene. However, the staff does not follow that policy either. They give inmates a hard time when they request the forms that
are needed, they tell you how many that you can have, and then they don't process them in a timely manner. They only allow 1
issue per form, so if you have more than 1 issue, they tell you to pick one. That is a policy violation, when you try to get the form
they say come to my open house and get it, their open house is once a week, IF they have it at all. If you try to give them the
completed form, they say the same thing, come to my opn house. But, you have 20 days to get the Informal Remedy form back
and get the BP-9 form turned in to be processed.

Your Honor, a real investigation into this matter will help, but truthfully, what is already here is enough to see that something is
really wrong with this situation, and the process used to Discipline inmates. My process violated Due Process, and you can
clearly see a lie from the Officer that is being ignored. Officers should not get away with lying.
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I emailed and asked the Warden, what her time frame was for responding to Informal Remedies, she did not answer the
question, she referred me to my Counselor. That was a simple question, that I still do not have an answer to. So in essence, we
are held responsible for filing remedies that do not really exist, that we cannot get the forms for, that we cannot properly file, so
really there is no Administrative Remedy at all for us to obtain ANY relief from.

In the Women's Prisons under BOP control the Women are abused, and BOP does not recognize or provide a method to
receive any relief. I came from Alderson FPC where the Warden was abusive, the Captain was Indicted for sleeping with the
inmates, the staff was abusive. I wrote them up. Went to Pekin Camp where the staff was sleeping with inmates, the men staff
from the FCI would come over and kick in doors at Midnight, scaring us half to death because they did not want to come over
and count us, lying in Incident Reports, calling the women "Mother fuckers" and cursing the women out, they punish Psych
patients (for cutting themselves, who are under psychiatric care), and are just overall abusive. Now, I am behind the fence at
Aliceville, where the staff is doing the exact same thing, lying in Incident Reports, Cursing women out, male staff kicking women
to stop fights, male staff getting in women's faces yelling and screaming, (inmates say some staff are getting oral sex from the
women), and overall abusive. BOP needs some type of oversight when it comes to the way women are being treated. Women
are dying from lack of Medical care, at 2 of these places, Alderson and Aliceville, and the Wardens let this stuff happen. There
are NO real protectors in here. These Women are like Prey.

Women are degraded and disrespected DAILY. This is where people come to work and can behave ANYWAY they choose with
no consequences. They can Order Sex, Order women to speak, abuse women, and they all stick together and condone the sick
behavior. My Write-up gave enough information for them to dd something. Instead the only thing they managed to do was ship
me in retaliation.

In Wolfe v Mcdonnell, 418 U.S. 539, 94 S. Ct. 2963, 41 L. Ed. 2d 935 (1974), the United States Supreme Court held that an
inmate is entitled to the following due process rights in disciplinary proceedings: 1)Written notice of the charge; 2) an
opportunity to present witnesses and documentary evidence; 3) an impartial hearing body; 4) assistance for illiterate inmates or
in complex cases; and 5) a written statement of evidence relied upon and the reasons for the sanction. Also, see Stiger v
Grayer, 159 F App'x 914, 915 (11th Cir. 2005)

Aliceville DHO does not require any evidence in the record to support the staffs accusations in the Incident Report, it considers
the Incident Report itself as enough evidence to support a non-favorable decision at a DHO hearing. I requested the tape from
the day of the Incident to refute the staffs accusation, and even though the tape proves that she did not stop at my door and talk
to me, they still left me in the SHU AFTER the investigation was over, and I am still going to DHO for more sanctioning. It would
seem that some independent evidence would be required, although they don't seem to accept any if it contradicts the staffs
accusation.

I have yet to be served written Notice of the 1st Incident Report 12-5-18, and I have yet to be served a Notice of hearing for the
date of the other. They gave me a.Notice of hearing for 12-5-18 with a violation of "Disobeying a Direct Order", which had
nothing to do with the actual Incident Report written & served, and on the 2nd one, they gave me a Notice with a different date.
When I pointed out to the DHO Officer that I had not even spoken to my Rep to form a defense, and that I did not receive
Notice, she told me that she was not going to waste anyone's time by requiring them to come back. (Please see the tape from
the DHO hearing on 12-18-18.) I was being denied a defense, and proper procedures to protect my due process rights were
being disregarded. They have a disregard for the proper procedures and we are punished before we can fight them. My Rep
Mr. Cano, was reluctant to ask for a continuance, and I had to really struggle with him. He was polite and ultimately asked for a
continuance, but the process was a struggle, it wasn't fair and in line with my due process rights.

Your Honor, we should not be forced to go through with a DHO hearing, when we have not had time to prepare a defense, we
have not spoken to our staff Rep, and then be expected to sit in handcuffs behind our back while trying to talk to our Rep at the
last minute, forced to rush and make decisions in that capacity, or in the alternative, be punished.

Your Honor, I PRAY for some some EMERGENCY relief from this Court:

I PRAY this Court:

1) ORDER BOP to Immediately stop any and all sanctions related to the Incident Reports from 12-5-18 and 12-24-18 from the
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same Officer. The Tapes prove that the Officer lied in the Incident Report, they don't show us ever having a conversation at my
door at lockdown, and the inherent Policy around here is to ignore the evidence and accept whatever the staff says happened.
The 2nd Incident Report on 12-24-18 was also not truthful, the staff member is a liar and has an issue with me. Her own email
stated that the 2nd report was petty.

2) ORDER BOP to dismiss the Reports for improper adherence to their policy. The policy 5270.09 was not properly followed,
and the Report should have been dismissed after it was altered by the Lieutenant, and not written nor served properly. They are
not allowed to suspend the Report for things outside of what the policy authorizes. It should have been dismissed.

3)0RDER BOP to send me to a foot specialist, and find a Blood Pressure medicine that works for Black Patients.

(I am in need of Medical treatment I need proper Blood pressure medicine. I am retaining fluid and swelling, I have an enlarged
Heart, and they are trying to give me Blood Pressure medicine that says it is not for Black patients. I also need to see a foot
specialist, I have a heel spur in my right foot that makes it extremely painful to walk, their is numbness in my left foot, and Dr
Griffin recommended that I file my skin down (not dead skin) to make the numbness go away. He had exercises that he
recommended for my heel spur, but said that we did not have the items needed to exercise with. The pain is excruciating, and I
need to find out what the real problem is.

4) ORDER BOP not to send me to the SHU under some type of Investigation into this matter as retaliation while and after it is
before this Court, or to impose any sanctions regarding these matters addressed here. Also, not to retaliate against me for
asking this Court for help.

5) Please Subpoena a copy of the complaint against Pekin Camp that was certified and shipped to BOP, OIA, and Regional 8-6
-18.
Please subpoena a copy of the LT Report on this matter from 12-5-18.
Please request a copy of the email that my staff rep Mr. Cano sent to the OHO Ms. Cano regarding the video tape for 12-5-18.

6) ORDER BOP to remove the Management variable keeping me at an FCI, so that I can go back to Camp. Please read the
complaint that I sent them, and I believe you will understand my argument with being harassed by the same officer in a 40 day
period. I should not be at an FCI for writing them up. I told the truth and their OIA has not done anything, they have not
addressed any issue that I wrote and asked them for help with. They seem to condone the abuse to Women that is going on.

7) Provide me with Counsel to address the issues with BOP violating my rights.

8) Take Notice of the abuse going on in BOP with the treatment of the Women in their custody.

Update Since I originally wrote this Injunction:

(1-2-19) Ms Butler called me in and stated "I do not have a problem with you", and I stated, "I have an issue with you, I did not
call you a Bitch, and I have a problem with being lied on in 2 Incident Reports". Ms. Butler apologized for the 2 Incident Reports.
She said she was being petty and she was sorry. I said again that I did not call you a "Bitch", she said, "I thought you did,
maybe you didn't, I don't know", rather non-chalant. She apologized again. We talked a bit and she said she was mad at what I
had told her an inmate said, but not at me, and she was sorry that she took it out on me. She said she would send Ms. Cano
(OHO) an email asking her to dismiss everything (the 2 Incident Reports), she showed me the screen that she had sent an
email, but I did not see its contents. I am not exactly sure if her email to Ms. Cano (OHO) reflected our conversation or not. I say
that because she said she sent the email, and when I asked her did she address both Incident Reports, she hesitated, and said
yes. We agreed to start over.

(1-2-19) Ms. Jenkins (Unit Manager) told me on Monday that she wanted to speak to me on Wednesday when she returned,
she did not say why. I went to talk to her after I spoke to Ms. Butler, and she said Ms. Butler said that I was disrespectful, and
that I was walking around in my underwear. I disputed that, I do not even engage Ms. Butler in conversation since she wrote the
Incident Report on 12-5-18, and I did not say much, if anything at all before then. When I mentioned the conversation to Ms
Butler, she seemed embarrassed and apologetic, she dropped her head and said that she l1ad said some things, and she would
talk to Ms. Jenkins. She apologized again.

(1-9-19) Called into the SHU and handcuffed to wait to see OHO. It is a real inhumane way to have to see OHO, handcuffed,
and unable to really be comfortable, and properly review your paperwork to defend yourself. I was put in and out of handcuffs
each time someone entered or left the room, it was painful and uncomfortable, and I was in the SHU from 12:20 to 1:50 only to
be told that my hearing would be rescheduled because my Rep was not at work that day. They knew the Rep was not there
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before I went in, so why send me through the treatment.

(1-12-19) Spoke to Ms. Butler again. I made a statement while talking that she had been the subject all week, basically in trying
to address things since her and I had talked. But, then when I was walking back by her office, I heard the unit bully which is one
of her favorites say to her, so what did she mean by you been the talk all week. So, I went and put the things down that were in
my hand and went and asked Ms. Butler if I could speak to her privately. Her favorites did not like that, they were in her office
as usual. I then said to her, that I thought we were trying to start over, and told her what I heard, she said no, that was not about
you, it was something else. I let it go, and we talked about something else. I did not believe that lie, because her favorite,
"Horton" said my exact words that I had just said to Ms. Butler not 5 minutes before that, so Ms. Butler had to tell her what I
said.
Then, I was in the TV room and her favorite "Horton" came in for a video visit, told me "MOVE", I ignored her, then she said
"EXCUSE YOU", I said no excuse you, she said I need to to move this thing, I said then say excuse me. She went off about if I
want to know something, don't ask Ms. Butler ask her, and "Ms Butler not bother anyone and I should not be writing her up.
Clearly Ms. Butler told her what I came and spoke to her about. She called me a BITCH and said I can't wait till you leave, you
write up people everywhere you go. I told her she talked to much, and if she had a problem with me, then do something about
it, other wise talk to her self, and then I continued to watch the movie that I was watching. She said something else, but I tuned
her out. She is a Bully, and she insights violence, but no one addresses her behavior. MS. Butler was aware of this.

(1-16-19) I had DHO today, and though I was never served the Written Report, and even though she had a VIDEO Proving that
the Officer and I never had a conversation, she still sanctioned me and took 2.8 good days, ALL communication for 3 months
and commissary for 3 months. And they said the 12 days that I already served in the SHU does not count. This is not right, the
officer lied and my rights were not respected. Also, the DHO is holding 14 SHU days over my head.

They are abusing the DHO and Incident Report process, I cannot call the Court, or my children, because an officer lied and they
ALWAYS yield to the officer. The DHO told me that the officer sent her an email and said that the 2nd Incident Report was
petty, but she still sanctioned me. The officer lied, look at the tape. I need to call the Courts and my children.

Envoking your rights seem to enrage this DHO lady. I did not want to do anything to anger her.
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Your Honor,

Date: 1-16-19

Just some things that I wanted to add, but ran out of room:

I have sent an Informal Request regarding this issue with Ms. Butler, in writing to start the Administrative Remedy process on
approximately 12-27-18, and to date, no response has been received. No one has said a word. I asked for help before going to
DHO from Lieutenants, SIS, the Captain, My Unit team, and the Warden, and NO ONE would help. I only have 20 days per
policy to file the Informal request AND the actual BP-9. They do not follow BOP policy, and when they don't and violate our
rights they still punish us.

I went to DHO today, and the DHO lady Ms. Cano was not concerned with my rights. I remember the last time I was seen in
front of her on 12-18-18 and I told her that I had not been served the written notice that was required, she was angry and said
she was not wasting anyone's time by asking them to come back for that reason. I want you to know Your Honor, that to date,
even though I told her that on 12-18-18, I still have not been served the required notice. But, I was punished anyway.

She asked today about some of my rights, but I would not dare say anything else to her about that, when she is about to
sanction me no matter what. I was unable to argue for my rights without being punished. She took 28 good days, 3 months
commissary, phone, and email, even though she had proof that the Officer lied.

There is no evidence that we can produce that will make her rule against an Officer, and that is not how this process is
supposed to work. Look at the 2 videos of our DHO Hearing, the one today 1-16-19 and the one 12-18-18, and you will see,
that we really are not heard, and she presumes that we are guilty no matter what.

OHO lady Ms. Cano, brought up my previous Incident Reports from another Institution (all in 40 days from the same officer),
from September 2018, but she failed to acknowledge that I was not given the necessary paperwork (another right violation)
from that Institution, in order to appeal that decision. Had I received the paperwork from the previous OHO like I was supposed
to, I could have appealed the decision, and then I probably would not have had to appear in front of this OHO in the first place. I
am being sanctioned by her, before I can appeal an incorrect decision from a previous OHO. When you write the Staff and
Prison up, this is what they do. They write Incident Reports that are not truthful, and then they punish you, and you have
nowhere to turn. You end up, constantly fighting punishment, and fabricated Incident Reports, in the midst of the other issues
and violations that BOP subjects you to. It is designed to be torturous, and very difficult for us. to force us to give up writing
them up. But, I will not give up. After sanctioning me, OHO Ms. Cano then bragged about taking my Liberty, as if she were a
higher Power. It was really something. 1 think after a while people need to move to different positions, because when you stay in
a position with that much power long, you can forget that the people that you are judging are human, and not all of them are
liars, nor guilty.

Please help me. I did not do what I was accused of, I did not call Ms. Butler or any other BOP staff member a "Bitch", EVER,
and I am willing to take a lie detector test to attest to that fact. The BOP staff routinely lies on inmates, because they can. Then
we have to go to lengths like this, instead of being able to use an Administrative Remedy Process that is supposed to address
these very issues. The Administrative Remedy Process does not really exist. The Wardens are deliberately Indifferent, and
ignore allegations against their staff, unless it is a sexual one, and they only half address those. They have blinders on, when it
comes to staff violating due process rights, harassing, and sleeping with inmates.

Your Honor, I would have put a copy of the Informal Remedy from 12-27-18, but the copier was down and had been for a while,
and I do not have a copy. Can you please subpoena the copy of the Informal Remedy that I filed from around that time
regarding M,.,...-=..._,
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TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Health Services
SUBJECT: '*'Request to Staff''* PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 01/16/2019 01:26:25 PM

To: Health Services
Inmate Work Assignment: Compound PM

HI,

I am still retaining fluids. I need an increase in my BP meds and to be evaluated. Also, as I have stated before, I am not
receiving any BP checks.

Thank You
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TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Health Services
SUBJECT: '''Request to Staff*" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 01/08/2019 07:35:36 PM

To: Health Services
Inmate Work Assignment: Compound pm

Hi,

I am retaining fluids pretty bad, and I need to ask for my BP Hydrochlorothiazide meds to be increased to 50 from 25. With my
BMI as high as it is, I need a higher dosage to get the fluids off of me. Can you increase my dosage please? Also, I still do not
have a prescription for my triamsinolone ointment.

Thank You

Freya Pearson
                                                                                            { ""'""   ,,
                  Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 10 of 64

TRULINCS 27182045 · PEARSON, FREYA D · Unit: ALl·A·A
-----------------------------------------------------------------------------------------------------------
FROM: 27182045
TO: Health Services
SUBJECT: ... Request to Staff'.. PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 01/11/2019 07:16:12 AM

To: Dr Griffin
Inmate Work Assignment: Compound PM

HI,

I am requesting help with this fluid retention, and a response regarding my BP med increase. I also, still do not have my
eczema cream prescription.

Thank You
·----PEARSON, FREYA Don 1/8/2019 7:35 PM wrote:

>

Hi,

I am retaining fluids pretty bad, and I need to ask for my BP Hydrochlorothiazide meds to be increased to 50 from 25. With my
BMI as high as it is, I need a higher dosage to get the fluids off of me. Can you increase my dosage please? Also, I still do not
have a prescription for my triamsinolone ointment.

Thank You

Freya Pearson
                                                                                           I "

                  Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 11 of 64

TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Trust Fund
SUBJECT: ... Request to Staff*** PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 01/17/2019 09:04:55 AM

To: Mr Willis
Inmate Work Assignment: Compound PM

Good Morning Mr Willis,

Hope your day is pleasant. The computer and printer at Rec was down all day yesterday, and I need to print some labels and
my Legal work to send to the Court. Do you know when we will be able to print anything? It is the only place that we can print,
and I have now missed the deadline this morning for sending legal work out. Please advisG Sir ..

Thank You

Freya
                                                                                        ! ·•·   I,



                  Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 12 of 64


TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A
-----------------------------------------------------------------------------------------------------------
FROM: 27182045
TO: A Unit Team
SUBJECT: '"Request to Statr" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 01/16/2019 07:01:15 PM

To: Ms Burnett
Inmate Work Assignment: Compound PM

Hi Ms. Burnett,

I am checking on the status of the Informal Remedy that I turned in lo you on 12-26-18 regarding Ms. Buller. Can you give me
an update please.

Thank You
                                                                                                                                             I -
                        Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 13 of 64

BP-A0288                                                                          INCIDENT REPORT~
JAN 17
U.S. DEPARTMENT OF JUSTICE                                                                                                                   FEDERAL BUREAU.OF PRISONS



              1
 2    lnn1ate s Name: Pearson.Freya                                          3. Register Numb"er:                 4. uate oflnciaent:
                                                                             27182-045                               12-05-2018
 6. Place of !nc1dent: A-1                                                   7. Assignment: Compoun              ,   ,v,                                 Unit: A-i 29[

 ·g_--Jncfcfent: :50l                                                                           110:-Violil6ilec1Act Code (s} lnso'ence Towards of Staff

 ------------------·-------'~
 11. Description of Incident (Date:            12-05-201 B_ _ _ Time:3:45 'pm ____ StB.ff became aware of incident):
  AT approximately 3:45 pm on Oocombor 5, 2018 while securing A-1 housing unit preparing for the '1:00 pm count. inmate Pearson.Freya rog 11 27182-045 staled !O mo - a messy bitch · I then said 10
  Inmate Pearson excuse mel She then stated, "you. a messy bitch.' I then continued to lock ·down the housing unit. Operali,Jns Lieutenant was notified




     12                                                                                            13. Date And Time·
                                                                                                          12/5/2018




     17. Comments of Inmate to Committee Regarding Above Incident:




  19. Committee Decision is Based on Specific Evidence as Follows:


18. A. It is the finding of the comrnittee that you                                            B   _.c=J_     The Committee is referring the Charge(s) to the OHO for further
                                                                                               Hec1M.
      §           Committed the Prohibited Act as charged:
                  Did not Commit a Prohibited Act.
                  Committed Prohibited Act Code (s).
                                                                                               C ..-         The Committee advisee. lhe inmate of its finding and of the right
                                                                                               to f1 e an appeal within 20 calendar cays.




 20. Committee action and/or recommendation if referred to OHO (Contingent upon OHO finding inmate committed prohibited act)·




 21. Date and Time of Action:                              {The UDC Cf1airman=s signature certifies who sat on t!ie UOC and that the completed report
accurately reflects the UDC proc_e_e_d~,n-g-,-)-.- - - - -



 Cha1rn1an ( I yped Name/S1gnalure)                                    Member ( I yped Name):                                       MerriEcr ( I yped Name):

 INSTRUCTIONS: All items outside of heavy rule
 are for staff use only. Begin entries with the number 1 and work up. Entries not qompleted will l?e
 voided by staff.




Distribute: Original-Central File Record; COPY-1-DHO: COPY-2-lnmate after UDC Action; COPY 3-lnmate within 24 hours of Part I Preparation



PDF                                                                                  Prescribed by P!3270                                 Rf,places BP-A0288 of AUG 11
                      Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 14 of 64
BP-A0288                                          INCIDENT REPORT
JAN 17
U.S. DEPARTMENT OF JUSTICE                                                 FEDERAL BUREAU OF PRISONS

                                                                 Part I • Incident Reoort
  1. Institution:   FCI Aliceville                                                              Incident Report Number:       3 l'7'7ll?-8°
 2. Inmate's Name:                                  3. Register Number:                         4. Date of Incident:                      5. Time:
 Pearson, Freya                                     27182-045                                     12-5-2018                                 3:45 PM
 6. Place of Incident:                              7. Assignment:                                                             5. Unit:
   Officer Station                                     Compound PM                                                            A1
 9. Incident: Insolence towards a staff me1nber                                10. Prohibited Act Code(s)
                                                                                312
11. Description of Incident (Date:     12-05-2018           Time:       3:45 PM            Staff became aware of incident):
At approximately 3:45 pm on December 5, 2018 while securing A-1 housing unit preparing for the 4 00 pm count, inmate Pearson.Freya reg#
27182-045 stated to me" a messy bitch." I then said to Inmate Pearson excuse me! She then statr:d, "you, a messy bitch." I then continued
to lock down the housing unit. Operations Lieutenant was notified. -t-/t·11 Ii; ,, v~ w,J..__ cj / f'41 3 I '1'1 o7                   \I

                                                                                                             13.DateAndTime:         r-</t1,J-: ;?c,I f   .-;;;?J
                                                                                                             12-0i,-2018/ 4:00 PM
                                                                    15 .Date Incident Report Delivered:         16. Time Incident Report Delivered:




                                                              Part II - Committee Action
                          te to Committee Regarding Above Incident:




 18. A. It is the finding of the commillee that you:                                  B.
                                                                     The Com1nittee is referring the
                                                                     Charge(sl to the OHO for further
                 Committed the Prohibited Act as charged.            Hearing.
                 Did not Commit a Prohibited Act.                 C. The Com·nillee advised lhe inmate of
                 Committed Prohibited Act Code(s). _ __              its finding and of the right lo file
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ J _ J_ _ __,_A.,.n'--a=~eal wilhin 20 calendar d,~a~y~s~._ _ _ _ __

19. Com1nittee Decision is Based on Specific Evidence as Follows:




20. Commillee action and/or recommendation if referred to OHO (Contingent upon OHO finding inmate committed prohibited act):




 21. Date and Time of Action: _ _ _ _ _ _ _ (The UDC Chairman's signature certifies who sat on the UDC and that the completed report
accurately reflects the UDC proceedings).

Chairman (Typed Name/Signature)                         Member (Typed Name)                                Member (Typed Name)

Pa e #2, Continued                                                                                                 Incident Report


   Distribute: Original-Central File Record; COPY-1-DHO: COPY-2-lnmate after UDC Action;.COPY 3-lnmate V.'ithin 24 hours of Part I Preparation



   WD                                               Prescribed by P5270                                          Rcpluccs BP-A0288 of AUC I I



                 Part Ill - Investigation
_ _ _ _ _ _ _ __.:_.:::.:_:::.._.::.:..:_::=-::~:.::.:.:_---~---~-~ 22. Date And Time Investigation Began
                                                                                                                               I -·
                          Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 15 of 64
 BP-A0288
 JAN 17
                                                            INCIDENT REPORT                          Cxf~
 U.S. 'DEPARTMENT OF JUSTICE                                                                 FEDERAL BUREAU OF PRISONS
                                                                               Part • Incident Report
   1. lnstifulfon: FC/ Aliceville
                                                                                                              Incident Report Number:        3 1'7'767-1)
  2. Inmate's Name:                                          3. Register Number:                              4. Date of Incident:                  15. Time:
  Pearson, Freya                                             27182-045                                          12·5·2018                              3:45 PM
  6. Place of Incident:                                      7. Assignment:                                                                  5. Unit:
     Officer Station                                          Compouncl PM                                                                   A1
  9. Incident: Insolence tow8rds a staff member                                              110. Prohibited Act Code(s)
                                                                                               312
11. Description of Incident (Date:                12-05-2018 .           Tirne:       345 Ply!          Stafi becan1e awar·e of incident :
At approximately 3:45 pm on December 5, 2018 while securing A-1 )lousing unit prepacing lor the '1 00 pm count, inmate Pearson.Freya reg ii
27182-045 staled lo me" a messy bitch." I then said to Inmate Poa'rson excuse me' She the~ slatoj," you, a messy bitch." I then continued
to lock down the housing unit. Operations Lieutenant was n'otified. -ri{-15 1, ,,  v·< W,· J.<.- ,i'i, / f'.;,fl 51 1)7                    '7'?      '?''
                                                                                                                               13.Date And Time:   '2/tJ f/?cl f/-,~i':!
                                                                                                                               12-0@-201814:00 PM
                                                                                   15 .Date Incident Report Delivered:            16. Time Incident.Report Delivered:




                                                                            Part II • Co1nrnittce Action
17. Comment ol lnm le lo Committee Regarding Above Incident:                                 . ·
·:r-,  (A. ; ct; D o·i-~ e.:.,cull he..,c C\, ~o ·; +c:h                                           ,=)-\- c:,..c9~"\2   •\   s .....n.ril:· ~I-· e_J. \ ~ "'j rl--Lc.
:::\-y ,i\-\,) . -l= c o, \ \r c_\ hi!,' )'<,LS,S ·..
           I

                                                                                                                  I
 18. A, II is the finding of the cornmillee that you:                                                 B.          The Cornnlttee is referring the
                                                                                                                  Charge(s) lo the DHO for further
                         Con1n1itted the Prohibited Act as charged.                                               Hearing.
                         Did !lot Con1111it 8 Prohibited Act.                                         C.          The Corr,mittee advised the inmale of
                         Co1nr11itled Prohibited Act Code(s), · ~ - -                                             its findin!: and of the right lo file
                                                                                               _.J...._ _ _-'-'A'-'11""a"p~1I   within 20 calendar cJa s.
19. Committee Decision is Based on Specific Evidence as Follows: ,
""1:'\:)~NJr-:;J:<1...i
                                 1
                                     0\:-C').,,~~\-6,c.~\'i' ·:v~Q1C,$;<:JC) ..::.:d (k\·c..d ·V·T) \\L,C ''.. 9 .
..:~_hi ic \0 _._,                         _·\1.,($,c 11"\_-. h!>c;;.,-4:(,... :S-\·o'* e...)cy( r· _.J\;IJ .-l-1,vi:t \1,. z:,(,,i_ c.c:;;j /fc(
                                                  _1


     Y)rt:...[ f fly. Cb'") I(                               .      , - '·" ,,..         ,                                     ·------~-~---
20. Committee action and/or ecornmendatlon if refen'ed to OHO (Contingent upon OHO finding ini,1ale committed prohibited act):
      \ r>       ·v c"")-,)            :::U s                                                                                                               ·
                                             ,         . .LI ';'i)D<l';·v~~'-                                .
                                           -"fu_-1-l:t:Iz:='. _(The UDC Chairman's signature certifies who sa'. on he UDC and that the completed report
-2-1-.-D-at_e_a_n_d_T-im_e_o_fA-c-t-io_n_:jb_-\
ac~:;rate)l' reflec s the UD~ proc~din6s).
_,     • ~                  I l  ~1
                             me/Signature)                         Member (Typed Name)                                        Hernber (Typed Name)


~ e #2, Continued                                                                                                                     Incident Report


     Distribute: Origlnal·Central File Record; COPY-i·DHO: COPY-2-\nn1c1te after UDC Action: COPY 3·1nrnale within 21\ hours of Part I Preparatlon



     \VD                                                         Prescribed by P5270                                              !Zepluccs nP.J\0288 of I\UO I l




                                           Part Ill - Investigation                                           22. Dale Ar',d Time Investigation Began
~~-~-~~~.......:..=.:..:........:...:.;_~-"-~--~-~-~~~-~
                                                                                                                                                                3
                                                                                                           I -

                    Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 16 of 64

                                              · 1 i· ne Hearing Before the (bHO)
                                                                                                                             CDFRV1
                                           ·
                                Notice of Discip
Bl?-A.0294
AUG 1·1                                                                                                  FEDERAL BUREAU OF PRISONS
 U.S. DEPARTMENT OF JUSTICE

                                                                                                                 rel ALICEVILLE, AL
                                                                                                                        Institution


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 ·ro, \        <2,.,()J:'-:bf\ -~ r           ~-\,( c 1_ _ _ _ _ _ _ _ _ _ _ _R'.o!E':':·Ge.:.·...:N~oc.:·.c.'......JZ!....J.......'.L'.LM--'"'--.:.='-----
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 A/-\·'EGEn VIOLATION(d):                               ,                             \.

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 DATE OF OFF8NSE : ( ) (        I ·,...   <~
                                          J         ·                           -------'--·
                                                                                                   CODE NO:


 You are being referred to the DHO for the above charge (s).
                                                            __ n A                ,-,-0 IL
 The hearing will be held on·                     ----~\c::__              at --~-:_(A.M./P.M.) cit the following location'.

 - - - - - - - - · - - - - - - - · · ·--------~
 You are entitled to have a full-time staf( member represent you at the hearing. Please .i.ndic~te
 below v,hether you desire to have a staff representative, and if so, h:_s 01.- her name.

 I       (do)   __j_L_   (do not)                   wish to have a staf:f representative.

  If so, the staff representative's name is:                           L J ';6 ln,.c, ~~
 You i,,1ill also havE:! the right to call ,...,itnesses at the hearing- c1.nd to r,resent documentary evidence in
 your behalf:; provided, calling your witn<2sses \·1ill not jeopardJ.ze insr.itutional saf:ety. Names of
 \-.litnesses you wish to call should be listed below. Bi.·iefly state to wliat each proposed witness would
 be able to testify.

  I      (do)            (do not)     __L_'         wish to hove .witnesses.

  NAME,                                                                            CI\N '1'8STIPY TO:




 NAME,                                                                             CAN TESTIFY TO:



_N_A_M_E_,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                      :=_J_ cAN     'rEsTIFY TO:




  'l'l1e Discipline Hearing Officer •11ill call those 1,d.tnesses (Staff ·oi: Inmnte} who a1·e reasonably
  «vailable, and who are determined by the PHO to have .info1;rnation relevant to the charge (a).
   Repetitive witnesses and repet..itive character references need not be called. Unavailable witnP.;::;.c:P.s
  moy be asked to sub111ll written statements.



     co the      DHO.                                                    \'G
  If additional space is needed, use the reverse side of this form. Date, sig11, and retL1rn this form


     OA'l'E:    \J ~ 11~· L>7
  Notice of heai:ing before OHO given inmace


     (Th.is form mc1y be replicated vii! /'JP)
                                                            I SIGNATURE '/jc?~~
                                                                      12--1 /- iL1l.Jl!LrL<1.2_y
                                                                            Date/Time                ·
                                                                                                         ~        Qo;;.s;j_ I!]'         D~
                                                                                                              Staff Printet'-Name/Signature

                                                                                                                    Replaces BPM294 (52)
                                                                                                                                              n
                                                                                                                                              of JAN SD

                                                                      Prescribed by P5270



                                                                                                                                                   Lj
               Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 17 of 64
                                                                            G~fa.rl--e- -
BP·M293                                Inmate Rights at Discipline Hearing coFRM
AUG 11
U.S. DEPARTMENT OF JUSTICE                                                              FEDERAL BUREAU OF PRISONS
Institution:~~--'F~C~I,_,A~L~I~C,,,,E~V=I=L~L~E'--~-----'-

As an inmate charged with a violation of Bureau of Prisons rules or regulations referred to
the Discipline Hearing Officer (DHO) for disposition, you have the following rights,
      1. The right to have a written copy of the charge(s) against you at least 24 hours prior
         to appearing before the Discipline Hearing Officer;
         2. The right to have a full-time member of the staff who is reasonably available to
         represent you before the DiscipHne Hearing Officer I
         3. The right to call witnesses (or present written statements of unavailable witnesses)
         and to present documentary evidence in your behalf, provided institutional safety would
         not be jeopardi?.ed;
         4. The right to present a statement or to remain silent. Your silence may be used to
         draw an adverse inference against you, However, your silence alone may not be used to
         support a finding that you committed a prohibited act,
         5. The right to be present throughout the discipline hearing except during a period of
         deliberation or when institutional safety would be jeopardized. If you elect not to
         appear before the DHO, you may still have witnesses and a staff representative appear on
         your behalf;
         6. The right to be advised of the DHO's decision, the facts supporting that decision,
         except where institutional safety would be jeopardized, and the DHO's disposition in
         writing, and,
         7. The right to appeal the decision of the DHO by means of the Administrative Remedy
         Procedure to the Regional Director within 20 calendar days of notice of the DHO's
      decision and disposition.
I hereby acknowledge that I have been advised of the above rights afforded me at a hearing
before the Discipline Hearing Officer. I have further been advised that if I have previously
received either a presumptive or effective parole date from the Parole Commission, a finding
by the DHO that I committed the prohibited act (s) may result in a rescission or retardation by
the Parole Commission of the presumptive or effective parole date.

Inmate's N a m e , " r ~ ~                                                . Reg. No.:    c)"/{~-D'-15
Inmate Signature         ,:Jl                                                       .   Date, f t2~ ~ 1 · J'8
Notice of rights g i ~ ~ ~ t e / t i m e )                        ,J2./11-'J~,~~~1~(-'~·il~l~··~~~l)')<.L..L~~~~~~~~-'-
by:   S. k cd- f rN,
          Staff Print~name/Signature
                                      0..&-1                                               I


Where an inmate has been advised of the rights afforded at a hearing before the DHO,
but refuaea to sign the acknowledgement, the following should be completed,
I have personally advised (Inmate's Name/Register No,) :~~~-~--~~-~~~~~~-~L
of the above rights afforded at a discipline hearing before the DHO I however the inmate has
refused to sign the acknowledgment.

Staff Typed or Printed Name/ Signature,_~~~~~~~~---....1.c_.~~~~~~-~~~~--'-
Date,

                                                      WAIVER OF 24 HOUR NOTICE
I have been advised that I have the right to have a written copy of the charge(s) against me
at least 21 hours prior to appearing before the DHO. I wish to waive this right and proceed
with the DHO hearing at this time.

Inmate Typed or Printed Name I Signed,~~~~~~~~~~·~-'-/~~~~~-~~~~~~--'-
Register Number:~~~~~~~~~-                                                                     . Time: ________:._

Witnessed by=--,-~-,~-,~~~~~',,--/-c-~~~~~~~~~~-~~-----'-
                        (Staff Printed Name/Signature)
    (This form may .be replicated via WP)                    Pre~cribed by P5270               Replaces BP~293(52) of JAN SB
                  Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 18 of 64



  BP·AOJ08           ADMINISTRATIVE DETENTION ORDER                                                                      U.S. DEPARTMENT OF JUSTICE
  JAN 17
                                                                                                                        FEDERAL BUREAU OF PRISONS


                                                                                                                                               ALICEVILLE FCI     A-1
                                                                                                                                                    Institution

                                                                                                                   DatefTim e    12·05-2018 16:38
  TO: Special Housing Unit Officer

  FROM, LT. WILLOCK, LIEUTENANT                                                 . (NamefTitle)

  SUBJECT: Placementof _ _ _ _ _ _P.=Ec..Ac.R...Sc.O=.Nc..c..F'-R'-"E-'Y'--A"D=-------' Reg. No. _ ___:2_7_1__:8__2_·D:..4c.5_ _ , in Administrative Detention


       I     (a) ls pending an investigation for a violation of Bureau regulations;

  ____ (bl        Is pending an SIS investigation

  ____ (c)        Is pending investigation or trial for a criminal act;

  ____ (d)        Is to be admitted to Administrative Detention



               _ _ _ _ (1) Since the inmate has requested admission for protection;

               I hereby request placement In Administrative Detention for my own protection.

                                              Inmate Signature/Register No. - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                                              Staff Witness Printed Name S i g n a t u r e : - - - - - - - - - - - - - - - - - - - - - - - - - - - -

               ____ (2)          Since a serious threat exis!s to individual's safety as perceived by staff, although person has not requested admission; ,referral of
                                   the necessary information will be forwarded for an appropriate hearing by the SRO


  ____ (e)           ls pending transferor is in holdover status during transfer


 ____ (fl            Is pending classification; or


 ____ (g)            Is terminating confinement in Disciplinary Segregation and has been ordered into Administrative Detention by the Warden's
                     designee.


It is this Correctional Supervisor's decision based on all the circumstances that lhe above named inr,1ate' s continued presence in the general
population poses a serious threat to life, property, self, staff, other inmates, or to the security or orderly running of the institution because'
  312 · Insolence toward a staff member
                                                                                                                                      -----·--------


 Therefore. the above named inmate is to be placed in Administrative Detention until further notice. The Inmate recei1,ed a copy of this Order on

 {date / t i m e ) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 Staff Witness Signature/Printed Name,_..,,W.=~·c.....f!3"'-.6"'-"~====-w:..:..:..·~B::.:::o:..:nc.:.cn..:.e=Cl=U;______        - - - - Date          _ _1~2~/~0~5~/~1~8~-
 Supervisor 24 hour review of placement: Signature/Printed n a m e ' - - - - - - - - - - - - - - - - - · - - - - - - - - - - - - - - -

 ' In the case of OHO action. reference to that order is sufficient. In other cases, the Correctional supervisor will makr: an independent review and decision, which is
 documented here
Record Copy· Inmate Concerned (not necessary if placement is a result of holdover status); Copy · Captain; Copy - Unit Manager; Copy· Operation Supervisor
• Administrative Detention Unit: Copy - Psychology; Copy. Central File



 PDF                                                                       Prescribed by P5270                          (Replc1ces BP-A0308 of JAN 88.)
                Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 19 of 64


TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO:
SUBJECT: Timeline SHU
DATE: 12/23/2018 08:00:05 PM

(12-5-18)
Went to LT office regarding an Incident with MS Butler. LT sent me back to the unit, upon returning Ms. Butler had told an
inmate, that I was in her office talking about the inmate, and the other inmates were asking me about the incident.

I immediately walked back out to go see LT cash, he was leaving and told me that LT Simmons would handle the situation.
tried talking to LT Simmons and he would not discuss the issue, he said "I'm going to handle it, watch how I handle the
situation". He then came into the unit and told the ladies that he did not give a "Fuck", that he had his date (for retirement 12-27-
18) and that Ms. Butler was in charge, and that if he had to come back he would take the tables, and then the TV.

My Situation had NOTHING to do with those things. LT Simmons did not address the situation properly at all.

After 4pm Count, I was sent to the SHU regarding an incident Report incorrectly written by Ms. Butler, accusing me of calling
her a "Messy Bitch". She lied.

LT Simmons came by the SHU and said that he would be investigating the Incident Report. Although he was involved from
earlier that day.

(12-6-18)
Sent Copout to Warden about the issue.

No Meds were given to me, even though I asked for them.

Asked a female staff for the time, and she held up her wrist and said skin thirty, laughed and walked off.

I asked for a phone call, and about sending out my Legal paperwork.

(12-7-18)
LT Black came thru and said "You wrong", "You wrong", I told him that I do not call females "Bitches", and I did not call her
one.

Captain came by and I spoke to him about the Incident Report situation, about sending my legal work to the Court, about not
being able to make a phone call, he said he would look into it. (He did not) I Asked him ailout my medicine. He said he would
look into it. (he did not)

Sent Copout to the SHU LT about my legal papers needing to be sent to the Court. (never got a response)

Warden walked thru, said hi and kept walking, I asked the lady walking by after her, who she was, and she said the Warden. I
asked to speak to her and the lady (her executive asst.) told me that she had already passed my door, and I could speak to her
next week. When the Warden came through the other side, I motioned the Warden and she came over, I asked her if she had
received my Copout, she said she gets many copouts, and if I sent it, then it should be there, then she left. I was unable to
speak to her about my issues. She served absolutely no purpose, in coming through the SHU, other than to simple show up.

Ms. Burnett (Counselor) came through she talked and listened. She said that I would be sanctioned, and talked a bit, and said
this was her way of Counseling me. She was polite. I asked for Informal Remedy forms, and I asked her about sending out my
legal work, about my medicine, not having a pen, and about not having paper to write on.

(12-8-18)
Asked Paramedic about receiving my medication. I told him that I have been asking everyday. He said he did pill line yesterday,
implying that I did not ask him, then he walked off. Had he stayed for just a second, I could have told him that I asked the
Captain, I was not saying that I asked him. These people are rude for no reason, they have become accustomed to not
listening.

AM-Turned in 2-lnformal Remedies, 1 about Legal paperwork, and 1 about not receiving rny medication.
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TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


LT St. John came by. Very nice and took time to talk to everyone. I spoke to her about sending out my legal work certified, and
about copies. I also asked about the phone. I gave her my 2-lnformal Remedies.

LT Simmons brought the revised Incident Report, but, once again, he had corrected it himself. He also did not ask me for my
statement. (Policy Violation)

(12-9-18)
Nurse Knopp brought me my medication. I had asked her about it. It was Afternoon pill line. As always, I appreciate her.

Mr. Kano (A2 case Manager) Came through and I asked for some paper, he searched for a couple sheets and gave them to
me. I also asked him about sending out my legal paperwork certified. He said talk to the SHU staff.

SHU staff gave out Toilet paper, Hygiene's, Outfit change, no towel change,

(12-10-18)
Ordered Commissary (Turned in the slip) 1 Cough Drop, 1 Hemorrhoid ointment, 1 legal pad, 4 stamps.

2:20 an inmate was trying to address staff about an issue. The staff was being unhelpful, but then said he would handle it
tomorrow, he told the inmate I'm off tomorrow, and then walked off.

I asked for a phone

I turned in Copout for SHU LT

(12-11-18)
Turned in Copout for the Captain. I asked about getting out of the SHU and about speakin0 to him.

AM-asked to use the Phone and about my legal work being sent out certified. (no help)
PM- Asked to use the phone. (never did)

Ms. Reed (Case Manager) came to tell me that I had to see OHO. She wrote her words in my statement, not mine.

(12-12-18)
Turned in 1-lnformal Remedy about being in the SHU before my hearing and being found guilty of anything.

Asked SHU staff about sending out my legal work certified, and getting a copy.

Turned in Copout for Mr. Willis regarding refunding me for the missed video visit on 12-7-18.

PM- Asked for phone (4 times) they said it was broken

Ms. Reed dropped of OHO notice copy. I spoke to her about not having paper, envelopes, stamps, legal work certified, and
phone. She turned and asked one of the guards about that. She then referred me to the SHULT.

Staff came and gave out a few pieces of paper, a few envelopes, and they had no pens. ( Ms. Reed had addressed them)

I still sent copout to the SHU LT about stamps, phone, etc.

(12-13-18)
AM- I asked for pads, books, broom, copouts

Ms. Jenkins came by and spoke about getting a new REP for OHO, and I asked her about using the phone, she asked staff
about the phone, they told her that Mr. Willis was working on it. She said if it was not fixed she would come by tomorrow and
see what she could do. (she did not come back the next day) I also asked her about sending my legal work out certified, and
she said for me to talk to the SHU staff.

Staff came and went through my property. Gave me some of my legal work. I asked him ailout sending my legal work to the
court Certified, and he said he was only there to do property and he did not know. (he did not have legal locker items)
                  Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 21 of 64


TRULINCS 27182045 • PEARSON, FREYA D · Unit: ALl·A·A


Asked Education lady about sending out my legal work to the Court certified, and getting a copy of it. She said to talk to Ms.
Jenkins.

Staff gave us clothes, towel included. got 1 roll toilet paper, and 3 pads.

(12-14-18)
Asked Officer Dunn about sending my legal work to the Court certified. Asked him about getting a copy of the legal work, he
said to speak to the Counselor, and said he would check on it. (no response after that)

Asked Officer Pier about making a phone call. Officer said they would check. (never did)

Asked Ms. Jackson (A2 Counselor) about sending legal work out to the Court. She said speak to my Unit team.

(12-15-18)
I asked LT St.John about sending out my legal work, copies of legal papers, using the phone, and sending my legal mail to the
Court certified. She said she was supposed to have left at 2pm and it was around 4pm, so she was leaving. But, she said she
would check back tomorrow and if no one had helped me, she would make the copy needed for the Court. (she never came
back) She told the SHU staff that I needed to make a call.

PM- Asked SHU staff about sending out my legal papers to the Court Certified. They said they would check on it.

(12-16-18)
Mr. Kano came by, and I told him that he was my REP, he said ok.

Staff gave out clothes, 1 toilet paper and pads.

PM- asked staff about phones, she said they were still down.

(12-17-18)
AM- Asked Mr. Knopp about sending my legal work certified. He said he asked someone ,ind they should come.

Released from the SHU today.

Asked to use phone while sitting in holding cell waiting to be released. Phone would not work.




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                                                                          FCI ALICEV[LLE                                                     :1                  I
                                     SPEJIAL HOUSING UNIT RULES AND REGULAljlONS I

Whlle housed Ii] the$ ec!al Ha~/sing Unil. All inrnates \'/ill olilde by the rules a~d rcsponslbllrtle{set below. Fallure to comply
                       1                     1
\\/Ith the spcci.:,1 housl!}g rules o nd Hesponsibilities ,-v!tl result In dlsciplin~ry              ocl1011.                             i                      I

     1
                                 i                                                                               I
             MonclcJV through Prldily, at 7:00am, (ex,cpt \vcekcnds/liollcJciys} you w\11 be approprl:i'tely dressed (orange pants and
                                                                                                                                           ,
         .   shirl)    while in      the cf.!li' with your bed rnvcle and all lten1s placed ln the storage space µ'~ovlded u;nder the bed. You \VIII
             11rnli1tvin this posturr,untll 11:00pm. The sanltoUon of the CBI! Is e~ch inrn1nes' responslbll!ty. Ali cells wrll be kept clean
             und iHdel'ly ot a)I timJ's. No itcn1s will be ~tored 011 the windov1 !odiJG:, covGr the wlncJ6ws, tlgh~ fixtures or h.ing from
                                                                                                                                                             1
             the L•-:J roilings Jt an·1. tin1e that will obstruct tlie view of            the cell   and occupants. Wrlllng or p!a clng onything on the
             c~II ,,.•;1Jls l.s not ullowcjd.                                                                                            '                   j
     2.      You -...,:11 be restralnec{from behind your· back, pvt sccircheJ anJ scanned \-Viti\                 1:1   hancl!ield metul detector Dnytl111e you
             nrr~ l;(!lng es~orted. If .~OU have J roo1nn1.ite she will be restruined prior to the door b'.~ln@ Of)e1)ed. I
     3.      111111:lL·~s plac:ed in Sp~~inl HousinG Unit \-VIII be afforded un opportunity to review their rersonjl property and receive
                                 1
             uut1>,.1r"i2ed items for ielent!on fron1 tht! Special 1-lousl1115 unit Property Officer MondiJy thru Friday. You can request to
                                 I           ;
             rctri..: 1,e Juthorlied Iterns fron1 your property every 30 days fron1                  the initial property review.
     4.
                                 I
             Thrc·,, mealsf1!ll be furnished dally. No Items will be kr.pt from the food trays.                                                           f  .



     s.      Clothing Exch.inge v1ill be conducted three tl1nes ;i \11eek, sheet exchnnge (every two '·Neeks) a d bfankets once a
                                 I                                                                                               ,
             n1on'.!1, All lt;ms vre 1?:<cl1,:inged on for 01~e only,                                       I

     6.      ShcJv·in[l upo1~ request·, nizors 1.vlll be Issued ;ind coltectGd by the Specl,:il Housing Unl~:Staff,                                 Thi razor will be collected
             GO 1~'.1nute_s after issue                                                                                ,
                                                                                                               '       '
             Ht111·,:i1ts \Viii.be given every thirt'/ d€1ys (30) on the f!1·!it \\/eekencl of the month. Any lhmate rc~uestins a haircut will
     7.                                                                                                                              1,                   !
             sub111:l an '1tr'1mate Request to Stoff II
     8.                          '                                     .
             All in111,;1tes W!ll be vttorded the opportunity to receive flve one hour periods of recre11tion rier:week. This \Vil!
             ordil'1:1rlly belconductecJ Monday-Friday, When the Special Housing Unit Staff ask.s If ~ou w<1nt)RecreaUon 1 state yes,
                                                                                                     1
             or no any other response \viii be considered a refust1I. Any inn1atc not pr~perfy dress CcJ with lled mode and proper
             r.r.11 .,,1nilntioh v,1ill a\so be con>idered a refusal.                                                           .!:                      I
     9.      All ir1111ates ir~ Ad1nlnistrative Detention or Disciplinary See:rcgfltion stutus wit! b~ aHo~ved to ~ake one phone coll
             everv (30) dtjys. All legiil coils wlll l.Je furnished by your assigned Unit Tean'\.               nequestl to makela legal ~all must be
             cJon,~·.in adva\ice by s•.1bmilting Un lnnwte Request to Stoff.                                                        !.                   '           '
     10. Con1·:1issury ~ists wi!I IJc Issued tind collected on rv1onduys 1 durlne Evenlnc VVc1tch. D~ not wri~c ln items that are not
             011 tl·l' 11st    nsith!s action 1,vill resul !n your llst bel11G volcJed.                                          i                       /
     11. lhc1 1:1w Library In thf! S[)<'.c:lal Housing Unit Is con1puter bct~ecJ, und aval(<1bfe for you,:1.0 work on current legal cases as
             ncedc."d. Yq~:must request the use of lhe Library by sulln1lttlng an lnrri,1tc Request                        tfi            <;totf,   when copies are
             µurc.li,Jsed tne edui:'1lion Derurlrnent \viii deliver then1 once your inmate occount is·c:r.blted.:
                                 I                                                                                              '                     .
     l:?.. lr1in,1ti:;s -.viii \1ot seal 1:helr out·coing correspondence.                                                       '                     j
     13. You r,HJSt sr;ir'\d for the diJlly ,\:OOp1n, 10:00pm count and any .idditionul en1ergency ( ..Junts. The only exceptions are
             1Nith ;1 curre1t vol Id n,::~d.icDI restr!cllon.                                                               II                       I               .,
     14, All 1r1111otcs \~ill comply \Vith the required 21 dny cell rotation.                                                   I                    ,
     15.     111111;1:1.~   Dure SS al;irm   ($ for n1@dicill   F.n18([~enclcs only, Misuse of U1e sys tern w!II res . l In disdf)llnary ;ictton
                                 I                                                                                              I                    j
     Note: I\ ct.I inspcCUorfls conducted by Special Housing Un!t staff prior to occupancy, No linen, clo~hing or mrittress issued
     wlll be <1lt·:!'ed or 0nservlcc;1ble. All iten1s exchungcd v.1ill be retu1·ned in the sun1e concHtl:bn. Any lten,s returned altered or
     unser\1 \cr..;;'Jle l•JIIJ,r_esult_ In ;in      !t:Jcidenl report   ond referred to the UDC and tile OHO for fl:~c1I dlspoSltlon and sanctioned
     restltL1lio·: ror the'cost of lhe ilen1 nltered or 1nndc unscrvicuable.                                                :!
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BP-A0288                                            INCIDENT REPORT
JAN 17
U.S. DEPARTMENT OF JUSTICE                                                       FEDERAL BUREAU OF PRISONS

                                                                        Part I • Incident Report
 1. Institution    FCI Aliceville                                                                  Incident Repoct Nu1nber:
 2. Inmate's Name                                     3. Register Number                           4. Date of Incident:                                 t   5. Time
    Pearson, Freya                                    2718?-045                                      12-24-2018                                                 10:00 AM
- - - - - - ~ - - - - - - - - - - 1 - - - · , \ i : - - - : - ~ .- - - - · - · - - - - - - - ' - - - - - - - - ~ - - - ' - - - - - - - -
 6. Place of Incident:                                7. Assignment·                                                                       t   5. Unit·
   A 1 129                                            Con1pound pm                                                                             A1
 9. Incident: Interfering with the taking of count. Refu:5ing to obey an             10. Prohibited Act Code(s)
 order of any staff member                                                           321,307


11. Description of Incident (Date:      12-24-2018                Time:       10 00 /\M        Staff became aware of incident)
On 12-24-2018 at approximately 10:00 am after announcing stand up, lights on for an official count. Upon approaching Inmate Pearson's cell
Inmate Pearson was laying in the bed under the covers. After several attempts of me knocking on tho cell door she finally got out of the bed. "I
then asked inmate Pearson if she was aware of the rLJles and regulations for count. The Inmate agreed that she did." Inmate is in violation of
the A&O rules and reoulations handbook that she sianed for.
 12. Typed Name/Signature of Reporting Employee                                                                     13.Date And Time:
 E. Butler/       C. '!Iutter                                                                                       12-24-2018/ 11 :00 AM
 14. Incident Report Delivered to Above Inmate By                         15 Date Incident Report Delivered:               16. Tin1e Incident Report Delivered:
 (Type Name/Signatureffe


                                                             .
                                                                    Part II· Committee Action
17. Comments of Inmate to Committee Regar9ing Above l1rcident·


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                                                          "'~
                                                                                                                                               __   .       .   ... __ ___,   ··--·
 18. A. It is the finding of the committee that ~'Jli: .'.'~~;:-;;:·~---,~ ....,-·,~-'- B.             The Comn1ittee 1s referring the
                                                : ( :r ·1p, .,11d                                      Charge(s) to the OHO for further
                     Co1nmitted the Prohibited Act as ,r:harged                                        Hearing.
                     Did not Commit a Prohibited /\Cf.. ·i; J 1'                                       The Comrnittee advised the inmate of
                     Committed Prohibited Act Code(s) _ __                   __ ~                      rts finding :ind of the right to file
                                                                                    --"------'-A"-n"a"'p"p'-'e"'a~i.within 20 calendar days.
                                                                                                                .   ..     ·•.\,\.•
19 Committee Decision is Bas~d        9~   ?PEIC:lf\~ ~yiden9~ FIS Follows:.




20. Committee action and/or recommendation if referred to OHO (Contingent upon OHO finqlng lnmflle committed prohibited act):




 21. Date and Time of Action - - ~ - - - - ( T h e UOC Chairman·s signature certifies who sat on the UDC and that the completed report
accurately reflects the UOC proceedings).


Chairman (Typed Name/Signature)                           Member (Typed Name)                                   Member (Typed Name)

Page #2, Continued                                                                                                                    Incident Report


   Distribute: Original-Central File Record: COPY·1-DHO: ~OP.Y-2-lnmatt18fi8r \JDC Action: COPY 3-lnmate within 24 hours of Part I Preparation


   \VD                                                 Prl'\':1·ibcd by P5270                                                Replaces BP-A0288 of AUG 11
                                                          Cl I,     .




                                    Part Ill - Investigation                                       22. Dale And Time Investigation Began

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 BP-A0288                                                 INCIDENT REPORT
 ,JAN 17
 U,S, DEPARTMENT OF JUSTICE                                                            FEDERAL BUREAU OF PRISONS

                                                                          Part I   • I llC Id ent   R eport
   1. Institution·    FCI Aliceville                                                                             Incident Re~ort Nurnber:
  2. Inmate's Narne:                                        3. Register Number:                                 4. Date of ln,jdent                            15. Time:
       Pearson, Freya                                       27182-045                                              12-24-2018                                       1000 AM
  6.- Place of Incident:                                    7. Assignment                                                                            I    5. Unit
     A1 129                                                 Compound pm                                                                                  A1
  9. Incident: Interfering with the taking of count, Refusing to obey an                     10. Prohibited Act Code(s'
  order of any staff member                                                                  321, 307

 11. Description of Incident (Date:          ·12-24-2018             Tirne         10 00 AM                Staff becan1e aw:=:"-""-e"'o'-'Iic:n,,,ci,:de,::n.:ct)c._:_ _ _ _ _ _ _ __
 On 12-24-2018 at approximately 1000 am alter announcing stand up, lights on for an official count Upon approaching Inmate Pearson's cell
 ln1nate Pearson was laying in the bed Linder the covers. After· several atternpts of me knocking on t11e cell door she finally got out of the bed. "I
 then asked inmate Pearson if she was aware of the rules and regulations for count. The ln1nate ag1eed t11at she did.'' Inmate is in violation of
 the A&O rules and regulations handbook that she signed for
  12. Typed Name/Signature of Reporting Employee                                                                                 13.Date And Ti1ne:
  E,   Butler/    f    DvltCet                                                                                                  12-24-2018/ 11 :00 AM
  14. Incident Report Delivered to Above Inmate By                           15 Date Incident Report Delivered·                          16 Time Incident Report Delivered
  (Type Name/Signature$




                       Comrnitted the Prohibited Act as charged
                       Did not Commit a Prohibited Acl                                                C.
                       Commilted Prohibited Act Code(s). _ __                                                        its finding and of the right to file
- - - - - - - - - - - - - - - - - - - - - - - - ------L---~~A~n~a~p~p=ee~ within 20 calendar days




                                                               Member (Typed Nar11e)                                          ~ember (Typed Name)

Pa e #2, Continued                                                                                                                             Incident Report


    Distribute. Original-Central File Record: COPY-1-DHO: COPY-2-lnmate after UOC Action: COPY 3-lnmate v,ithin 24 hours of Part I Preparation


    \VD                                                     Prcsr.:ribi..:d by P5270                                                      Rcplnr.:cs LlP-/\0288 of AUG 11




_ _ _ _ _ _ _ _ _ _ _Pcc•::r_:_t.:.cll'-1--'1'-'n-'-ve::.;•:.:t:sigc:a_:_tl_:_o:_cn_ _ _ _ _ _ _ _ _   __JI    22. Date And Time Investigation Began


                                                                                                                                                                               IJ
                Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 25 of 64
                                                                                   C 'ffPvk
BP-A0293                         Inmate Rights at Discipline Hear~ng                          CDPRM
AUG 11
U.S. DEPARTMENT OF JUSTICE                                                         FEDERAL BUREAU OF PRISONS

Institution:~~~F_·_C_I~A_L,_I_C~E~V~I~L~L~E~~~~

As an inmate charged with a violation of Bureau of Prisons rules or regulations referred to
the Discipline Hearing Officer (OHO) for disposition, you have the following rights:
      1. The right to have a written copy of the charge(s) against you at least 24 hours prior
       to appearing before the Discipline Hearing Officer;
           2.   The right to have a   full-time member of the staff who is reacJonably available to
       represent you before the Discipline Hearing Officer;
       3. The right to call witnesses (or present written statements or unavailable witnesses)
       and to present documentary evidence in your behalf, provided institutional safety would
       not be jeopardized;
       4. The right to present a statement or to remain silent. Yot1r silence may be used to
       draw an adverse inference against you. However, your silence alone may not be used to
       support a finding that you committed a prohibited act;
       5. The right to be present throughout the discipline hearing except during a period of
       deliberation or when institutional safety would be jeopardized. If you elect not to
       appear before the OHO, you may still have witnesses and a staff representative appear on
       your behal [;
       6. The right to be advis~d of the DHO's ~ecision, the facts supporting that decision,
       except where institutional safety would be jeopardized, and cl1e DHO's disposition in
       writing; and,
       7. The right to appeal the decision of the DHO by means of the Administrative Re1nedy
       Procedure to the Regio11al Director within 20 calendar days c,[ notice of the DHO's
       decision and disposition.
I hereby acknowledge that I have been advised of the above rights ::tfforded me at a hearing
before the Discipline Hearing Officer. I have further been advised that if I have previously
received either a presumptive or effective parole date from the Pa1Aole Commission, a finding
by the OHO that I co1n1nitted the prohibited act(s) may result in a rescission or retardation by
the Parole Comrnission of the presu,nptive or effective parole date.

Inmate's Name:

                                                                                   Date•   /J -)fr'/'6
                                                              12;28;2018 ®    f):l!Oy111

Where an inmate has been advised of the rights afforded at a hearing before the DHO,
but refuses to sign the acknowledgement, the following should be completed,
I have personally advised (Inmate's Name/Register No.)
of the above rights afforded at a discipline hearir1g before the D}l·); however tl1e inmate has
refused to sign the acknowledg1nent.

Staff Typed or Printed Name/ Signature:                                              I

Date:

                                    WAIVER OF 24 HOUR NOTICE
I have been advised that I have the right to have a written copy of the charge(s) against me
at least 24 hours prior to appearir1g before the DHO. I wish to waive this right and proceed
with the DHO hearing at this time.

Inmate Typed or Printed Name / Signed:                                         /

Register Number:                                      Date:                                 Time:-~~~~-~-~

Witnessed b y : - - - - - - - ~ - - - - ~ / ' - - - ~ - - - - - - - - ~ ~ ~ - - - - ~
                  (Staff Printed Name/Signature)

   (This    form may be replicated vid WP)          Prescribed by P5270                    Replaces BP-293 (52)   of JAN BB


                                                                                                                       )1
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                                                                                         CYJfar+e.-
BP-A0294                         Notice of Discipline Hearing Before the                                                               (DHO)                 CDFRM
AUG 11
U.S. DEPARTMENT OF JUSTICE                                                                                             FEDERAL BUREAU OF PRISONS

                                                                                                                                    FCl ALICEVILLE, AL
                                                                                                                                         Institution



To·     Pearson,       Freya
ALLEGED VIOLATION (S):
I11terfering With Taking Count
Refusing To Obey An O_r_d_e_r_ _ __

DATE OF OPFENSE:              12/28/2018                                                                    CODE NO: _03_2_1~,_3~0_7_ _ _ _ _ _ _ _ _ _ _ __
                            --'-'-~'--"--'--------------
You are being referred to the OHO for the above char~Je (s)

The hearing will be held on:                  'I'BD     at           ___T_B_D_ _ _ (A.M./P.M.)                              cit    the following location:



You are entitled to have a full-time staff member represent you at th<:: hearing. Please indicate
below whethey you desire to have a staff representative, and if so, his or her name.

I     (do)~                (do not)         wish to have a staff representative.
                                                              , I.,        ,-1                      ·
                                                                 I               .'.!...( 11,)          r•_.·(
If so,     the staff representative's na1ne is:             ,_/_,_11'-1'-.- · - - ' - - - - '           i       .14/
You will also have the right to call witnesses at the hearing and to rresent documentary evidence in
your behalf; provided, calling your witnesses will not jeopardize institutional safety. Names of
witnesses you wish to call should be listed below. Briefly state to what each proposed witness would
bP. able to tP.stify.
                /.,/
I     {clo)~               (do not)        wish to have witnesses.

NAME,    'I./\
           / ()\ I'( (1{
                     '),                                                    CAN TEST I FY TO,                                    , ·. _I·
                                                                                                                        t'f' )_,_-;,--_      I ) ,;; '' ' /1 ()                   I(;,.,
                                                                                                                               1     -'-+-~A~U~--~,-o-''~'Ll_,_.,,_.,T,~'~!~,~-,~__,-~_'
                                                                                 dI/{            fl,'.)     I     fr:vl,_'__                    _:lce~(_:_'!/'_:l_V_c(.~.l~.'"":.,_'cc(,_,_i-"11'-/'-\(-'-,:_ __
                                                                                                                                    _.l;ec_-i:c_"


NAME:                                                                  J    CAN TESTirY TO:




NAME:                                                                    [iAN TESTirY TO:




The Discipline !1earing Officer will call those witnesses (Staff or In111ate) who are reasonably
available, and who are determined by the D!-!O to have information relevant to the charge(s).
Repetitive witnesses and repetitive character references need not be cdlled. Unavailable witnesses
may be asked to submit wr-itten statements.

If additional space is needed,              use the reverse sid~ of this for1n.                                        Dat~.       sign,            and return this form
to the OHO.




                                                                                          ''''J/)11{(/                                                                             .t 'i ..
Notice of hearing before DHO given inmate                    12;2s/2010.                  ,M     I                     by        R. Burnet_,t_ _- i - - - ~ - - -
                                                        -        Dat:-:;;7T.i.me                                            Sl;aff Printed Name/Signature

(This   foi-m may be replicated via WP)                                                                                             l?eplaces BP-29'1 (5?.)                           of JAN 88

                                                       Prescribed by P5270

BP-A0306                               DUTIES OF STAFF REPRESENTATIVE                                                   co:'RM

                                                                                                                                                                                                I Lf
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TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: Warden
TO: 27182045
SUBJECT: RE:"'lnmate to Staff Message"'
DATE: 01/02/2019 09:12:02 AM

Ms. Pearson, Your concerns are noted. You may appeal through the Administrative Remedy process.

>» -A!"PEARSON, -A!FREYA D" <27182045@inmatemessage.com> 12/31/2018 7:36 F'M >»
To:Warden                                                                  •a,,!,. Ill,.,,..          ,,Jll r
Inmate Work Assignment: None                                              u                         r·
                                                                                             <t<-r- 1....-"/'

I need assistance
-----PEARSON, FREYA Don 12/31/2018 7:35 PM wrote:

>

Hi,

I have been having an issue with Officer Butler for a while now. I need some help. She is lying in Incident Reports and no one is
addressing the issue. I have asked for help from the Captain, a couple Lt's, SIS, and now I am asking again for help now.

I am being punished for the Reports that this Officer is lying in, and although staff is tellin[J me that my voice is being heard, and
that they are investigating, the fact remains that I am being punished, while the so called investigating is going on. The video
has been reviewed from 12-5-18, and it has been discovered that the staff lied about stopping and talking to me during
lockdown. That means it is no longer my word against hers, if she talked to me, than she had to stop and do so, the video
shows that she did not. The video showed that she simply locked my door like she did everyone else's. I was told that I was still
going to be punished by DHO, even though the video shows that she lied min the Report. The staff said that I will be punished
because hey will still listen to the staff member. I am confused, if the video shows that the staff lied, why would you still be
listening to the staff. The video doesn't lie, the staff did. I am frustrated.

I have already spent 12 days in the SHU for something that I did not do, and now I am going to be further punished even though
the video shows her to be lying. I do not understand that. I need someone to actually address this issue with this staff member.
She has written another Report in which she has lied again. When does this stop, and why is her behavior being condoned. I
should not be punished, and my record tarnished for things that I arn not doing.

I have turned in an Informal Remedy, spoke to LT's, sent emails to Captain, SIS, and now I am doing it all over again. NO ONE
has responded to my request for help.

What is the point in investigating an incident report if you intend to punish the inmate regardless of what you find out. That
equates to a blatant disregard for BOP policy, and the inmates Constitutional Rights.

I need help and I don't want to keep being punished for things that I am NOT doing. DHO likes to punish us, and I have to
appear before them AGAIN, on the 2nd Incident, and on the 1st incident report, since it was continued.

I need help to address this staff members behavior, and I need help to stop this punishment.

Also, why doesn't the 12 days that I was forced to stay in the SHU, for NO reason, count for anything??

Freya Pearson
                Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 28 of 64


TRULINCS 27182045 • PEARSON, FREYA D · Unit: ALI-A-A


FROM: 27182045
TO: A Unit Team
SUBJECT: '"Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 01/03/2019 10:50:37 AM

To: Ms. Burnett
Inmate Work Assignment: None

Hi Maam,

 I was just checking on the status of the Informal Remedy that I submitted on 12-26-18. I am in need of a copy, if that is an
issue, I can wait until I receive the response for the copy.

Thanks

Freya




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                 Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 29 of 64


TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Captain
SUBJECT: ... Request to Staff'.. PEARSON, FREYA, Reg# 27182045, ALI-A-A

        ·-
DATE: 12/31/2018 07:35:51 PM

To: Captain, Warden, SIS
Inmate Work Assignment: None

Hi,

I have been having an issue with Officer Butler for a while now. I need some help. She is lying in Incident Reports and no one is
addressing the issue. I have asked for help from the Captain, a couple Lt's, SIS, and now I am asking again for help now.

I am being punished for the Reports that this Officer is lying in, and although staff is telling me that my voice is being heard, and
that they are investigating, the fact remains that I am being punished, while the so called investigating is going on. The video
has been reviewed from 12-5-18, and it has been discovered that the staff lied about stopping and talking to me during
lockdown. That means it is no longer my word against hers, if she talked to me, than she had to stop and do so, the video
shows that she did not. The video showed that she simply locked my door like she did everyone else's. I was told that I was still
going to be punished by OHO, even though the video shows that she lied min the Report The staff said that I will be punished
because hey will still listen to the staff member. I am confused, if the video shows that the staff lied, why would you still be
listening to the staff. The video doesn't lie, the staff did. I am frustrated.

I have already spent 12 days in the SHU for something that I did not do, and now I am going to be further punished even though
the video shows her to be lying. I do not understand that. I need someone to actually address this issue with this staff member.
She has written another Report in which she has lied again. When does this stop, and why is her behavior being condoned. I
should not be punished, and my record tarnished for things that I arn not doing.

I have turned in an Informal Remedy, spoke to LT's, sent emails to Captain, SIS, and now I am doing it all over again. NO ONE
has responded to my request for help.

What is the point in investigating an incident report if you intend to punish the inmate reg,;rdless of what you find out. That
equates to a blatant disregard for BOP policy, and the inmates Constitutional Rights.

I need help and I don't want to keep being punished for things that I am NOT doing. OHO likes to punish us, and I have to
appear before them AGAIN, on the 2nd Incident, and on the 1st incident report, since it was continued.

I need help to address this staff members behavior, and I need help to stop this punishment.

Also, why doesn't the 12 days that I was forced to stay in the SHU, for NO reason, count for anything??

Freya Pearson




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TRULINCS 27182045 · PEARSON, FREYA D · Unit: ALl·A·A


FROM: 27182045
TO: Captain
SUBJECT: '"Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALl·A·A
DATE: 12/24/2018 06:05:18 PM

To: Captain
Inmate Work Assignment: None

Captain, If I can help it, I would not like to move anywhere.
---··PEARSON, FREYA Don ~2018 4:55 PM wrote:                     \   §..±::   fieA-- J'.,r. lf.ruf
>

HI,

I am having trouble with an Officer (Ms. Butler) targeting me, lying in Incident Reports, showing favoritism, etc. I have been
written an Incident and was sent to the SHU for 12 days behind her lie, and I am asking for some help. This Officer has other
inmates walking around with her while she is locking everyone else down (check camera on 12-05-18 approx 3:35-3:50). It is
not fair to the rest of the inmates for her favorites to have a different set of rules than we do. We are being written Incident
Reports, and subjected to extra duty for things that her favorites do daily with no consequences.

One of her favorites threw a chair at another inmate, I saw the incident, and the Officer laughed and did nothing. Her favorites
sit in her office daily using profane words, and having obscene conversations, and if other inmates need to talk to her, they just
sit and wont leave, she doesn't ask them to leave either. She talks about other ·,nmates tu them, creating conflict. It is really bad.
She has told her favorite that I was talking about her, putting me in jeopardy, that is not ale

One of her favorites has taken over the TV room, and she makes people uncomfortable when they try to come in there. She
tells people they can't sit by her, that's why she threw the lady's chair. She told the lady that she could not sit by her, then threw
her chair accross the room. Inmate.com says that she was kicked out of another unit for doing the same thing, now here she is
doing it in here too, bullying the TV room, with NO consequences.

I have been written another Incident Report that she has lied in. She says that we have had conversations that we have never
had. The camera should show that I am telling the truth, because it will show that we have not communicated, and yet her
Incident Report says that we have. Because she has gotten away with lying in these reports before, she continues to do so.

I am asking for your help here. I mostly follow the rules. I don't get it right all the time, but it is usually something minor, and not
often. I try to comply with the rules, and I am feeling stressed, and abused here. Ms. Butlm accused me of calling her a "Bitch",
and I do not refer to women like that. I don't even allow other inmates to play with me like that, I think it is degrading to refer to
women that way.

These lies really hurt inmates, because you all punish us according to what staff says. So, if I am going to be punished for what
someone says, I am asking that the person be truthful, and have a history of being truthful. This staff member does not have a
history of being truthful. I do not want to be the victim of her lack of morality. I am respectful to staff, and I would like the same in
return. I do not want to be harassed just because she does not like me.

Can you please help me??

Thank You

Freya Pearson
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TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: A Unit Team
SUBJECT: .. 'Request to Staff' .. PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 12/19/2018 02:32:25 PM

To: Ms Burnett
Inmate Work Assignment: None

Hi Ms. Burnett,

Can you please confirm the time frame for an Informal Remedy to be completed by Staff and returned to us. I understand that
BOP Policy says that the Informal Remedy, and the BP-9, are supposed to both be completed and turned in by 20 days. Our
previous Institution had a 5 day time frame on having Informal Remedies Completed, what is your time frame Maam?

Thank You

Freya
-----Warden on 12/19/2018 8:42 AM wrote:

>
Ms. Pearson, "informal remedies" are addressed by the Unit Team staff, please follow up with your counselor at Open House
hours.

»> -'!"PEARSON, -'!FREYA D" <27182045@inmatemessage.com> 12/18/2018 6:23 PM»>
To: Warden
Inmate Work Assignment: Pm Compound

Hi Warden,

 Can you please confirm your time frame, for responding to our "Informal Remedy" forms. Where I came from, it was 5
calendar days, what is it here?

Thank You

Freya
               Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 32 of 64


TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: Warden
TO: 27182045
SUBJECT: RE:'"lnmate to Staff Message'"
DATE: 12/19/2018 08:42:02 AM

Ms. Pearson, "informal remedies" are addressed by the Unit Team staff, please follow up witl1 your counselor at Open House
hours.

>» -A!"PEARSON, -A!FREYA D" <27182045@inmatemessage.com> 12/18/2018 6:23 PM>»
To: Warden
Inmate Work Assignment: Pm Compound

Hi Warden,

 Can you please confirm your time frame, for responding to our "Informal Remedy" forms. Where I came from, it was 5
calendar days, what is it here?

Thank You

Freya




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                 Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 33 of 64


TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Warden
SUBJECT: "'Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 12/05/2018 01:12:35 PM

To: Ms Bradley
Inmate Work Assignment: None

God Afternoon,

I wanted to get your thoughts on an issue, so that we do not have to waste any time in tho process. I am about to do a 9,
regarding the response time that DHO is taking, regarding giving inmates their paperwork after their hearing. Since inmates
cannot appeal a DHO ruling until they receive the paperwork, then it should be given to them in a timely manner.

The issue is, that the DHO complaint is not against your facility, "Aliceville", it is against "Pekin Federal Prison Camp". So, I am
asking, if you would suggest that ·1 do a 9 to you, or should I go directly to a 10, since your facility is not involved in that issue?

Thank You

Freya Pearson
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TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Warden
SUBJECT: "'Request to Staff"' PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 12/04/2018 04:37:49 PM

To: Warden
Inmate Work Assignment: None

Good Afternoon,

 I was wondering if you would give me some assistance in receiving help from Medical. I am retaining fluid more than I should
be, and I have not had the regular Blood Pressure checks that are required with the med•cine that I am on. Also, I still do not
have a response from medical regarding what the medicine amlodipine is, and a warning pamphlet for the medicine. I have
been asking since it was prescribed.

Thank You
-----PEARSON, FREYA Don 12/4/2018 4:34 PM wrote:

>

Hi Dr Griffin,

 I need to get a medical pass from you to receive additional toilet paper. You have me taking water pills, and I have a lot of fluid
that I retain and I urinate quite a bit. Also, I need the fluid retention issue addressed please.

3rd request regarding fluid retention

Thank You
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TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Health Services
SUBJECT: ... Request to Staff*" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 12/04/2018 04:34:36 PM

To: Dr Griffin
Inmate Work Assignment: None

Hi Dr Griffin,

 I need to get a medical pass from you to receive additional toilet paper. You have me taking water pills, and I have a lot of fluid
that I retain and I urinate quite a bit. Also, I need the fluid retention issue addressed please.

3rd request regarding fluid retention

Thank You




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TRULINCS 27182045 · PEARSON, FREYA D · Unit: ALI-A-A


FROM: 27182045
TO: Health Services
SUBJECT: ... Request to Staff' .. PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 12/04/2018 06:39:56 AM

To: Dr Griffin
Inmate Work Assignment: None

Hi Dr Griffin,

I am still retaining fluid. I am not sure that this Blood Pressure medicine is working properly. I need to be checked out. Also, I
have not had regular Blood Pressure checks since I have been here, with the exception of the first day and the appointment
with you 5 days later. You have not responded to advise what amlodopine is, and I still cio not have the pamphlet for the
warnings either.

I have sent you these same issues before, with no response from you.

Please address these issues.

Thank You
                                                                                     1 ..
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TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: A Unit Team
SUBJECT: '"Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/30/2018 10:07:20 AM

To: Ms Burnett
Inmate Work Assignment: None

Yes maam you are correct, Thank You
-----A Unit Team on 11/30/2018 7:42 AM wrote:

>
According to your case manager you received the documentation on 11-29-18 at 3:50pm

>» -"!"PEARSON, -"!FREYA D" <27182045@inmatemessage.com> 11/29/2018 8:21 AM>»
To: Ms Burnett
Inmate Work Assignment: None

Hi,

Thank You for speaking with me today at Team ... I wanted to make sure that I document, that I have requested my DHO
paperwork from you and Ms. Reed. I have not received it from Pekin DHO staff yet. I appreciate Ms.Reed ordering the
paperwork, and I look forward to receiving it, so that I may appeal the results of the hearing.

Thank You :)
                Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 38 of 64


TRULINCS 27182045 · PEARSON, FREYA D · Unit: ALl·A·A


FROM: 27182045
TO: Health Services
SUBJECT: '"Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/27/2018 07:08:53 AM

To: Dr Griffin
Inmate Work Assignment: None

Hi,

 I am wondering why you have not set me up for regular Blood Pressure Checks. My BP is usually checked regularly. I am
retaining a lot of fluids, so I think the dosage needs to be adjusted. I am really retaining n lot, this can't be normal, it is alarming.

I still do not have an answer from you as to what amlodopine is, and I have asked you several times. Can you please tell me
that is?

Thank You
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TRULINCS 27182045 • PEARSON, FREYA D · Unit: ALl·A·A


FROM: 27182045
TO: Warden
SUBJECT: "'Request to Staff"' PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/19/201801:14:11 PM

To: Ms Bradley
Inmate Work Assignment: None

Hi Ms. Bradley,

I was able to pick up 2 of my prescriptions, I have to take my old inhaler to the pharmacy to get the new one, but it is ready. I
noticed that the date on the bottles of Hydrochlorothiazide and Ibuprofen says 11-13-18, : went to pill pickup on 11-14-18 and
the only meds they had were amlodipine, I still don't know what that is. There were no other prescriptions available, so I find it
strange that the bottles have that date. I still do not have my triamsinolone ointment.

I have my BP meds, so I Thank You again for your help in that, they are very much needed.

Thanks Again :)
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TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Warden
SUBJECT: .. 'Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/19/2018 10:49:29 AM

To: Warden
Inmate Work Assignment: None

Thank You maam, noone had informed me. I appreciate your help.      :)
-----Warden on 11/19/2018 8:47 AM wrote:

>
I understand from the pharmacist your medications have been filled and are ready for pick up.

»> -AJ"PEARSON, -A!FREYA D" <27182045@inmatemessage.com> 11/17/2018 4:39 PM»>
To: Warden
Inmate Work Assignment: None

Hi Ms. Bradley,

I still do not have my BP meds, and I have an enlarged heart as my medical records show, so I need to keep my BP under
control. This makes 4 days of sending emails a couple times a day, and no meds or response. I have yet to see the lady that
you mentioned, in mainline.

I need my meds please.

Thank You
-----PEARSON, FREYA Don 11/17/2018 4:36 PM wrote:

>

Hi, I still do not have my BP meds and I need them. May I have my BP meds. I have an enlarged heart as you already know,
and I need to keep my BP under control. Also, may I have my other meds too.

Thank You
              Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 41 of 64


TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: Warden
TO: 27182045
SUBJECT: RE: .. 'lnmate to Staff Message• ..
DATE: 11/19/2018 08:47:02 AM

I understand from the pharmacist your medications have been filled and are ready for p,ck up.

»> -"!"PEARSON, -"!FREYA D" <27182045@inmatemessage.com> 11/17/2018 4:39 PM>»
To: Warden
Inmate Work Assignment: None

Hi Ms. Bradley,

I still do not have my BP meds, and I have an enlarged heart as my medical records show, so I need to keep my BP under
control. This makes 4 days of sending emails a couple times a day, and no meds or response. I have yet to see the lady that
you mentioned, in mainline.

I need my meds please.

Thank You
-----PEARSON, FREYA Don 11/17/2018 4:36 PM wrote:

>


Hi, I still do not have my BP meds and I need them. May I have my BP meds. I have an enlarged heart as you already know,
and I need to keep my BP under control. Also, may I have my other meds too.

Thank You
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TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Warden
SUBJECT: '"Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/19/2018 07:06:36 AM

To: Ms Bradley
Inmate Work Assignment: None

Good Morning,

I have not had my BP meds or any other meds in 6 days now. I need my meds please.

Thank You
-----PEARSON, FREYA Don 11/19/2018 7:05 AM wrote:

>

Good MOrning,

Today is day 6, and I hope to get my meds today. I need my BP meds and my other prescriptions please.

Thank You




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TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Health Services
SUBJECT: "'Request to Staff"' PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/19/2018 07:05:35 AM

To: Dr Griffin
Inmate Work Assignment: None

Good MOrning,

Today is day 6, and I hope to get my meds today. I need my BP meds and my other prescriptions please.

Thank You
                 Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 44 of 64


TRULINCS 27182045 · PEARSON, FREYA D · Unit: ALI-A-A


FROM: 27182045
TO: Warden
SUBJECT: °'Request to Staff"' PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/18/2018 01:56:23 PM

To: Warden
Inmate Work Assignment: None

Hi,

I still do not have my BP meds or my other meds. May I have them please?

Thank You
·····PEARSON, FREYA Don 11/18/2018 1:55 PM wrote:

>

Hi Dr Griffin,

I still do not have my BP meds. I have an enlarged heart, and I need to keep my Blood Pressure down, I need my BP meds.
am also retaining fluids. May I have them please. I also need all of my other meds.

Thank You
                 Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 45 of 64


TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Health Services
SUBJECT: "'Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/18/201801:55:21 PM

To: Dr Griffin
Inmate Work Assignment: None

Hi Dr Griffin,

I still do not have my BP meds. I have an enlarged heart, and I need to keep my Blood Pressure down, I need my BP meds.
am also retaining fluids. May I have them please. I also need all of my other meds.

Thank You
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TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Health Services
SUBJECT: '"Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/18/2018 09:07:59 AM

To: Dr Griffin
Inmate Work Assignment: None

Hi Dr Griffin,

I still do not have my BP meds. I need my BP meds, I have an enlarged heart and I need my meds. Also, I still need all of my
prescriptions to be filled. This is now 5 days of no meds.

Thank You
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                Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 47 of 64


TRULINCS 27182045 • PEARSON, FREYA D · Unit: ALI ·A·A


FROM: 27182045
TO: Health Services
SUBJECT: '"Request to Staff"' PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/17/2018 04:36:21 PM

To: Dr Griffin
Inmate Work Assignment: None

Hi, I still do not have my BP meds and I need them. May I have my BP meds. I have an enlarged heart as you already know,
and I need to keep my BP under control. Also, may I have my other meds too.

Thank You
                Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 48 of 64


TRULINCS 27182045 - PEARSON, FREYA D · Unit: ALI-A-A


FROM: 27182045
TO: Health Services
SUBJECT: .. 'Request to Staff' .. PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/17/2018 07:17:29 AM

To: Dr Griffin
Inmate Work Assignment: None

Good Morning Dr Griffin,

I still have not had my BP meds and it has been 4 days now. I need my meds please. Also, I need my other medications to be
sent to the pharmacy. I have an enlarged Heart and I need to keep my BP under control.

Thank You
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TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Warden
SUBJECT: ... Request to Staff... PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/16/201811:45:53AM

To: Warden
Inmate Work Assignment: None

Just FYI Maam
-----PEARSON, FREYA Don 11/15/2018 7:08 AM wrote:

>

Good Morning,

I went to pill pickup yesterday and after standing in the cold for a very long time, my medications had not been ordered by you.
You only ordered amlodipine, and I am guessing that that is the Norvast, I am not sure. Dr Griffin, before I left your office I
specifically asked you the plan of treatment and what medications would be prescribed to me. You stated Hydrochlorothiazide,
Ibuprofen, Norvast, Inhaler, and you refused my regular prescription of triamsinolone ointment. So, I do not understand why you
did not put all of my prescriptions in as we discussed.

I agreed Dr Griffin to take Norvast because you told me that it was needed in addition to my hydrochlorothiazide meds. I did
NOT agree to take Norvast, as a replacement to a medication that was already working. Why you felt that I needed an
additional medication is still a mystery to me, because after steady and daily BP checks with the Hydrochlorothiazide, my BP
was steady and good.

I would hope that you are not recommending that I take an additional medication. because my BP was high at your
appointment, because that was your fault for not putting in my medication on Friday for mu to have daily. The Nurses were nice
enough to try and accommodate my meds the weekend, due to your negligence. So, I hac not had my meds that day, but I
hope that you would not base a medication diagnosis, on one high BP with no meds being taken that day. Now that I think
about it, what are you basing your recommendation that I take additional BP meds on? I could understand taking magnesium,
or potassium, but an additional BP med is questionable, can you please explain that reasoning?

Dr Griffin, I try to avoid having to deal with Medical because of the incompetence and deliberate Indifference that is routinely
displayed there. I am disgusted at the Inhumane way you all treat inmates. You treat them as if they should not ask questions,
you deny them meds that you know they need, and you purposely misdiagnose them to s,we money or you just don't care,
either way, it is substandard care that you would not do to your patients on the street, 'if you wern treating them.

I intend to file a complaint with the Alabama Medical Board if this continues. Your treatment is inhumane and I would rather not
have to deal with you, unless absolutely necessary, so can you please give me what I need, not want, but need medically, so
that I can limit my dealings with your department.

If not, I will do what is needed to get the medical treatment that I need, and it may take a while, it may be a difficult road, but
eventually I will receive it. I am a very persistent and patient person Dr Griffin, I do not like people to be treated inhumane,
especially me. Inhumane treatment is nothing more than abuse, especially when the people that you are treating that way have
no other option, you should be ashamed.

Basically, I need my prescriptions sent to the Pharmacy.




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TRULINCS 27182045 • PEARSON, FREYA D · Unit: ALl·A·A


FROM: 27182045
TO: Warden
SUBJECT: "'Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/16/2018 11:44:46 AM

To: Warden
Inmate Work Assignment: None

Good Morning,

I am in need of my BP medication. I have an Enlarged Heart as my records reflect, and I have not had my Hydrochlorothiazide
BP medication in 3 days now. Dr Griffin was supposed to send my prescriptions to the pharmacy 2 days ago and he has not. I
have sent several emails, and still have no meds. The lady that you spoke about has not been in mainline.

I just need all of my medication please.

Thank You
-----PEARSON, FREYA Don 11/16/201811:41 AM wrote:

>

Hi Dr Griffin,

This is my 3rd day with no BP meds and no response on how to get them. I have sent a request since Wednesday, Thursday, I
sent a request this morning. I am sending another one now, I need my BP meds, I am retaining fluids. What is amlodipine 5mg?
I need my hydrochlorothiazide BP med, ibuprofen, triamsinolone, etc. Please provide my prescriptions.

As you are aware, I hilve an Enlarged Heart, and I need my BP meds. Your lack of response is a deliberate indifference to my
medical needs. I have requested a complaint form for the state of Alabama Medical board. This will be addressed.

Thank You
                 Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 51 of 64


TRULINCS 27182045 · PEARSON, FREYA D · Unit: ALl·A·A


FROM: 27182045
TO: Health Services
SUBJECT: '"Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/16/201811:41:30AM

To: Dr Griffin
Inmate Work Assignment: None

Hi Dr Griffin,

This is my 3rd day with no BP meds and no response on how to get them. I have sent a request since Wednesday, Thursday, I
sent a request this morning. I am sending another one now, I need my BP meds, I am retaining fluids. What is amlodipine 5mg?
I need my hydrochlorothiazide BP med, ibuprofen, triamsinolone, etc. Please provide my prescriptions.

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Thank You
                 Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 52 of 64


TRULINCS 27182045 · PEARSON, FREYA D · Unit: ALI ·A·A


FROM: 27182045
TO: Health Services
SUBJECT: ... Request lo Slaff'.. PEARSON, FREYA. Reg# 27182045, ALI-A-A
DATE: 11/16/2018 07:02:28 AM

To: Dr Griffin
Inmate Work Assignment: None

Hi Dr Griffin,

This is yet day 3 without my Hydrochlorothiazide BP meds, and I need them. Once again, what is amlodipine and may I have
the warning pamphlet? My other meds are needed as well.

Please advise
                 Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 53 of 64


TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Health Services
SUBJECT: "'Request to Staff' .. PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/15/2018 07:08:44 AM

To: Dr Griffin
Inmate Work Assignment: None

Good Morning,

I went to pill pickup yesterday and after standing in the cold for a very long time, my medications had not been ordered by you.
You only ordered amlodipine, and I am guessing that that is the Norvast, I am not sure. Dr Griffin, before I left your office I
specifically asked you the plan of treatment and what medications would be prescribed to me. You stated Hydrochlorothiazide,
Ibuprofen, Norvast, Inhaler, and you refused my regular prescription of triamsinolone ointment. So, I do not understand why you
did not put all of my prescriptions in as we discussed.

I agreed Dr Griffin to take Norvast because you told me that it was needed in addition to my hydrochlorothiazide meds. I did
NOT agree to take Norvast, as a replacement to a medication that was already working. Why you felt that I needed an
additional medication is still a mystery to me, because after steady and daily BP checks v1ith the Hydrochlorothiazide, my BP
was steady and good.

I would hope that you are not recommending that I take an additional medication, because my BP was high at your
appointment, because that was your fault for not putting in my medication on Friday for me to have daily. The Nurses were nice
enough to try and accommodate my meds the weekend, due to your negligence. So, I had not had my meds that day, but I
hope that you would not base a medication diagnosis, on one high BP with no meds being taken that day. Now that I think
about it, what are you basing your recommendation that I take additional BP meds on? I could understand taking magnesium,
or potassium, but an additional BP med is questionable, can you please explain that reasoning?

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you deny them meds that you know they need, and you purposely misdiagnose them to save money or you just don't care,
either way, it is substandard care that you would not do to your patients on the street, if you were treating them.

I intend to file a complaint with the Alabama Medical Board if this continues. Your treatment is inhumane and I would rather not
have to deal with you, unless absolutely necessary, so can you please give me what I need, not want, but need medically, so
that I can limit my dealings with your department.

If not, I will do what is needed to get the medical treatment that I need, and it may take a while. it may be a difficult road, but
eventually I will receive it. I am a very persistent and patient person Dr Griffin, I do not like people tci be treated inhumane,
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Basically, I need my prescriptions sent to the Pharmacy.




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                Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 54 of 64


TRULINCS 27182045 • PEARSON, FREYA D · Unit: ALI-A-A


FROM: 27182045
TO: Warden
SUBJECT: '"Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/14/2018 11:48:31 AM

To: Warden
Inmate Work Assignment: None

Maam, I was at mainline and she was not there.
-----Warden on 11/14/2018 10:42 AM wrote:

>
Ms. Pearson, Please speak with Ms. Elie, Health Service Administrator at mainline today regarding your medical concerns.


>» -"!"PEARSON, -"!FREYA D" <27182045@inmatemessage.com> 11/14/2018 7:38 ,\M >»
To: Warden
Inmate Work Assignment: None

Warden Bradley,

Good Morning, I am having problems with the Dr in medical, and I thought it appropriate to make you aware. I do understand
that the Dr is usually the person that makes all of the decisions in medical, however, this Dr is providing some strange
responses to serious medical conditions and concerns. I am forwarding you 2 emails that I have sent him. I am in need of
proper medical care, and I am requesting assistance. There seems to be a deliberate indifference from Dr Griffin regarding my
medical concerns, and I find it alarming. Inmates are human beings and deserve to be treated as such. and some of what he is
doing is not humane, and can be harmful to my health.

Please excuse the typos in the first email, it timed me out before I could make a spell check.
-----PEARSON, FREYA Don 11/13/2018 9:29 PM wrote:

>

Hi Dr Grifin,

I was not very happy with our meeting today. You seemed to tell me things that are not accurate and that did not make rational
sense. I havwe a bleeding disorder that you are not familiar with and you attempted to pretend to know more about it than you
actually do. M disorder as I explained to you requires a 4 part test, and you did nto know that. You seem to think that you can
monitor my blood levels, for some strange reason, but I was not clear on the purpose of you doing that. Because there is no
cure or treatment that you can offer, and you cannot manage my blood and it have an affect on this disorder. So, I would
appreciate it if you would not pretend to treat a disorder that you cannot treat. If I bleed and do not clot I will let you know and
we can go from there.

Next, I find it strange that you would demand that I waaste my money at commissary for some hydrocorticone cream that BOP
has already had determined did not work on my eczema, so they have already prescribed Triamcinolone for tratment. You
seem to want me to wast funds when I have had a prescription for cream since I have been in BOP. As a Physician you should
already be aware that .1% of hydrocortisone cream serves virtually no purpose for treating eczema. I would expect that you are
aware that a stronger dosage is required to actually do some good. So, why would you, a Physician demand that I waste my
money on a cream that you should already know does not work, that BOP has determined does not work? I woulod like my
triamsinolone cream that 2 doctors have already been prescribing for my eczema.

Thirde, I have bunyons, calcaneal spurs on both feet, heel spur on the right foot with sevore swelling, arthritis in my right knee
and you seemed to have an issue with giving me the soft shoe pass that my medical needs require. So, I am requesting to see
an orthopedic. A specialist in this field may be able to advise you on the proper care of my feet. You observed severe swelling,
bunyons, and you still refuse to properly help me.

I need better treatment. Real treatment

Thank You
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TRULINCS 27182045 - PEARSON, FREYA D · Unit: ALI-A-A


FROM: Warden
TO: 27182045
SUBJECT: RE: .. 'lnmate to Staff Message'"
DATE: 11/14/2018 10:42:03 AM

 Ms. Pearson, Please speak with Ms. Elie, Health Service Administrator at mainline today regarding your medical concerns.


»> -A!"PEARSON, -A!FREYA D" <27182045@inmatemessage.com> 11/14/2018 7:38 AM>»
To: Warden
Inmate Work Assignment: None

Warden Bradley,

Good Morning, I am having problems with the Dr in medical, and I thought it appropriate to make you aware. I do understand
that the Dr is usually the person that makes all of the decisions in medical, however, this Dr is providing some strange
responses to serious medical conditions and concerns. I am forwarding you 2 emails that I have sent him. I am in need of
proper medical care, and I am requesting assistance. There seems to be a deliberate indifference from Dr Griffin regarding my
medical concerns, and I find it alarming. Inmates are human beings and deserve to be treated as such, and some of what he is
doing is not humane, and can be harmful to my health.

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·----PEARSON, FREYA Don 11/13/2018 9:29 PM wrote:

>

Hi Dr Grifin,

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actually do. M disorder as I explained to you requires a 4 part test, and you did nto know that. You seem to think that you can
monitor my blood levels, for some strange reason, but I was not clear on the purpose of you doing that. Because there is no
cure or treatment that you can offer, and you cannot manage my blood and it have an affect on this disorder. So, I would
appreciate it if you would not pretend to treat a disorder that you cannot treat. If I bleed and do not clot I will let you know and
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triamsinolone cream that 2 doctors have already been prescribing for my eczema.

Thirde, I have bunyons, calcaneal spurs on both feet, heel spur on the right foot with severe swelling, arthritis in my right knee
and you seemed to have an issue with giving me the soft shoe pass that my medical neec:s require. So, I am requesting to see
an orthopedic. A specialist in this field may be able to advise you on the proper care of my feet. You observed severe swelling,
bunyons, and you still refuse to properly help me.

I need better treatment. Real treatment

Thank You




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                 Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 56 of 64


TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Warden
SUBJECT: "'Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/14/2018 07:39:34 AM

To: Warden
Inmate Work Assignment: None

2nd Email
-----PEARSON, FREYA Don 11/14/2018 7:04 AM wrote:

>

""CONTINUATION OF LAST EMAIL"'" Please excuse the typos of my last email, it timed me out, I am not used to your
system yet and it times out according to count times, instead of just time.

Dr Griffin, I do not need much from Health Services, and because I know that you all tend to provide substandard care, I try to
get everything that I need in the beginning, so that I do not have to continually deal with tllis issue, and interact with you all. You
seem to think that because we are inmates, that we do not deserve the standard medical care that you would provide to a
human being. You display that indifference towards inmates daily, and sometimes to the detriment of their health.

Let me be clear, I will not allow you to deprive me of proper medical care, and more importantly, I will not allow you to provide
care that is damaging to my health. I am 45 soon to be 46 years old, and I need all of my body parts functioning properly. I
came into BOP walking, and without damaged feet, I intend to minimize the damage that being in BOP has already done to my
feet, and my health.

You seem to be very slow and have a very unusual demeanor in handling things. You seom to be unsure and when you don't
know you just make things up that are not accurate, I do not like that, so please do not do that with me. I do read policy and I
am aware of what does and does not apply to me. So as I explained to you, I was born with this blood issue, and have suffered
with it my whole life. Because the issue is so rare, people like you have been trying to use me as P.in cushion my whole life,
and I have learned to simply say no. It is virtually untreatable, and unmonitorable, it happons when it decides to happen, and
there is not really any warning.

So, a pin cushion I will not be, unfortunately for me, with this disorder, I have to be very cautious about giving my blood, and
being stuck, so when you decide that you would like to order my blood, you will need to have a valid reason for doing so, and I
will need to know what that is, and I will decide at that time, if I would like to agree or disagree. The tearing of my skin is crucial
and can cause me major problems, so I am overly protective of that process.

You have stated to me to that the numbing of my toe on my left foot can be resolved by using a nail file to file down my foot.
The problem with your diagnosis is that the part that you want me to file down is not dead skin and is not hard, it is my skin and
that made no sense at all. The numbing of that toe is an issue, that has not been properly addressed. The swelling of my right
heel has not been properly addressed, exercise is not a proper diagnosis for a bone protruding into my heel. You tell me to
exercise, then in the same breath, you tell me that I do not have the proper items needed here, to do the exercises that you
have recommended, that makes absolutely no sense, and simply means, that you have not addressed my medical condition
with a treatment plan, that can actually be implemented. But you will say that you have acldressed my medical concerns.

So in essence, you have pretended to monitor an unmontorable blood disorder, ordered impossible treatment for a swelling and
painful foot, refused to treat the documented eczema, misdiagnosed the numbness in my left foot with, and ordered impossible
remedies that would not have helped anyway.

I ned you to provide proper medical care or send me to a specialist that can.
                 Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 57 of 64


TRULINCS 27182045 • PEARSON, FREYA D · Unit: ALI-A·A


FROM: 27182045
TO: Health Services
SUBJECT: .. 'Request to Staff' .. PEARSON, FREYA, Reg# 27182045, ALI-A-A
DA TE: 1111312018 09:29:58 PM

To: Dr Griffin
Inmate Work Assignment: None

Hi Dr Grifin,

I was not very happy with our meeting today. You seemed to tell me things that are not accurate and that did not make rational
sense. I havwe a bleeding disorder that you are not familiar with and you attempted to protend to know more about it than you
actually do. M disorder as I explained to you requires a 4 part test, and you did nto know that. You seem to think that you can
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Next, I find it strange that you would demand that I waaste my money at commissary for some hydrocorticone cream that BOP
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and you seemed to have an issue with giving me the soft shoe pass that my medical needs require. So, I am requesting to see
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bunyons, and you still refuse to properly help me.

I need better treatment. Real treatment

Thank You
                 Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 58 of 64


TRULINCS 27182045 · PEARSON, FREYA D · Unit: ALl·A·A


FROM: 27182045
TO: Health Services
SUBJECT: "'Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/14/2018 07:04:06 AM

To: Dr Griffin
Inmate Work Assignment: None

.... CONTINUATION OF LAST EMAIL'"" Please excuse the typos of my last email, it timed me out, I am not used to your
system yet and it times out according to count times, instead of just time.

Dr Griffin, I do not need much from Health Services, and because I know that you all tencl to provide substandard care, I try to
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human being. You display that indifference towards inmates daily, and sometimes to the detriment of their health.

Let me be clear, I will not allow you to deprive me of proper medical care, and more importantly, I will not allow you to provide
care that is damaging to my health. I am 45 soon to be 46 years old, and I need all of my body parts functioning properly. I
came into BOP walking, and without damaged feet, I intend to minimize the damage that being in BOP has already done to my
feet, and my health.

You seem to be very slow and have a very unusual demeanor in handling things. You seem to be unsure and when you don't
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am aware of what does and does not apply to me. So as I explained to you, I was born with this blood issue, and have suffered
with it my whole life. Because the issue is so rare, people like you have been trying to usll me as pin cushion my whole life,
and I have learned to simply say no. It is virtually untreatable, and unmonitorable, it happens when it decides to happen, and
there is not really any warning.

So, a pin cushion I will not be, unfortunately for me, with this disorder, I have to be very cautious about giving my blood, and
being stuck, so when you decide that you would like to order my blood, you will need to have a valid reason for doing so, and I
will need to know what that is, and I will decide at that time, if I would like to agree or disagree. The tearing of my skin is crucial
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I ned you to provide proper medical care or send me to a specialist that can.
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                Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 59 of 64


TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Health Services
SUBJECT: .. 'Request to Staff' .. PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/09/2018 05:50:41 PM

To: Health Services
Inmate Work Assignment: None

Hi,

I still have not had my medicine. I am retaining fluid and I have an enlarged Heart, I need to make sure that I am taking my BP
meds. Please advise me on how to get them.

Thank You

2nd Request
               Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 60 of 64


TRULINCS 27182045 - PEARSON, FREYA D - Unit: ALI-A-A


FROM: 27182045
TO: Health Services
SUBJECT: '"Request to Staff'" PEARSON, FREYA, Reg# 27182045, ALI-A-A
DATE: 11/09/2018 10:27:20 AM

To: Health Services
Inmate Work Assignment: None

Hi,

I have not received my meds today, and I have no instruction on how to get them. Please advise on how to get my meds.

Thank You
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                                       Case 7:19-cv-00149-ACA-HNJ Document 1 Filed 01/28/19 Page 61 of 64
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            I IQl"l I \J~t                                                                                                                                                                                                  APflll 1911?
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                                                                      ALI 1330.17
                                                                      October.15, 2012
                                                                      Attachment A


                          INFORMAL RESOLUTION REQUEST (IRR) FORM

Inmate Name                                     I Register   Number

                                   INFORMAL RESOLUTION PROCESS

Briefly state the specific complaint, including details and facts which support your
request and the date on which the basis for your complaint occurred, your recommended
resolution, and the actions you have taken and to whom you have spoken to resolve
your complaint in Section 1. Return the form to your Correctional Counselor or other
Unit Team staff designated by the Unit. If all efforts at informal resolution fail,
you will be issued a BP-9 form in which you may proceed in acco:rdunce with our policies
and outlined in the institution supplement. The informal resolution process is not
in any manner intended to prohibit you from pursuing complaints through this program.
It is intended to ensure that all parties attempt to informally i:esolve an issue prior
to initiating the formal process of filing an Administrative Remedy.




SECTION 2
Date Received by counselor for Reoponee:
S1.,ttt1;n,.ary of fact~finding:

Actiono taken to resolve iofor.ma.lly I

E)(plain reasons for no reoolution1




Distribution1    (1) If complo.int is informally reoolved, forward the original, signed
and dated by the inmate, to the Correctional Counaelor for filing.      (2) If complaint
is NOT informally resolved, forward original, attached to DPR9, to the Coordinator's
office for prooeeoing by tho Clerk,
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                   INFORMAL RESOLUTION ATTEMPT

January 03, 2019

Pearson, Freya
Reg .No.: 27182-045

BP 8 Health Services

This is in response to the attached complaint in which you have
against Health Services.


Please review the attached document in which thjs portion of the
policy applies to your complaint.


You may appeal to the Warden on an Administrative Remedy Form
BP-229.




                                                  Date,




                                                                        .; I
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FDA MEDICATION GUIDES AND SIDE EFFECTS STATEMENT
     *-"*FDA MEDJCl\'l'IO!~ GUIDt.:S l\~!D DI.SPIJ\Y OF THI~ :.iIDE ~:~·~~ECTS !3T,\TEMl~NT l\Rf~
     l~EQUIRED \•/ITII PHl'.:SC!l.J P'l'l.ONS DlSPl·:N'..-lt::D PUH5UANT TO 1NMl\'l'l<S IH'.lNG !U:~L!~/\Sl~D, OP.
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     !:'DI\ tvledicat:ion Guides and d.i. .splay of        t·h'":) .<sld(-: orfects :-:\:al.r:menL ARE NOT
     raqtiircd to he provided to the patle11t when tl1c inmntQ i_:;:
             l. Cor:l incd within A GOP in0t i tut i.c,n.
             2. BeiIHJ transferred 1-1ithi.n l)OP (int.ru-~;y.str-im) or tu anothe1·
                 corre<:tio11ul entl.l:y (inter-system),

     E'!Jl\ Medication Guide~ and display of the c,i.dc effects at,.1t(;ment·. AlH·: requirl':d
     to be provided to the patient when the inmul:c is:
           l, 13e.Lnq released to the cornrnun.Lty. (.i.nclud.i.ng wr.Lt:i and fu1:loughs)
           ?.. Sent to a ['{esidcntia.l Reentry Cehl:f!r (Rl~C) (c.q. !ialf-Way House).


OVER THE COUNTER MEDICATIONS
     F'orrnulary OTC Mec!.i.cal:ion~ may only b1.! prescr:ibc;d as a rr. . !l.:11 enancc medication
     asso.ci<Jtecl 1·1.ith onqoing follo1" up in a ci.r:()nic car(:) (;lini,_' anU t:uµportec\ by
     an appropriate and c,..::,n,:r,c:::;·_;c.'-'t.c Lr1c.l.ic,1ti.on. Heter to the
     1:·urmul 0,:· ['(' l"rescril.,i11,·_~~1_!_(-'.1!~i_,1 r•lr11 r i.;,-

MEDICAL CENTER ONLY
     II re::;tr.ict:.ion placed on .<;ome m1'?c.li.c,'l\:.i.on rcq11.iring that t:hc \.1:3c    cJf   t:IJ.i:5 dru9
     only be wjthin a fede1·al Medical Cct1tc1·

MEDICATION RESTRICTIONS
     Prescrib.i.11g rest:rictio11s placed on certain medications.                       \'c1r..iilncc from
     restrictions r~qt1J.~es 11011-forinulary at1t!1oriz~l:ion.

DIRECTLY OBSERVED THERAPY (Formerly "Pill Line")                                 ONLY
     I\ restriction placed on conlrul.l.ed ~;ubsL,1nccs       p:·;ychot:ropi,
                                                                       1           'i'l3 medications,
     and some other drug~;, r:equiri.1HJ Llic1L d sinqll~ dr>:.;r-: of l.lte (!ru(J be
     adm.Ltll!ilerel..! to an inmate by a qualJ.fit~c\ cmp.loyeci at·. a clef, qnat:ec:I ti.me and
     place.      The adminisLrntion of t:hat·. do5c musl be 1:ecordt~d 0:1 a Mecl.i.cat:ion
     Adm.i.nist:rc1tion Record (t-1/\P.) by t:he emp.loye(~.. A report of :n0cl.i.cat.i.onf-! 1.hnt:
     are c!irectly observed th0rapy only is availal)le J.n OOP ale,:tronic madJ.caJ
     record. 'fhcr0. are some rncdicat:ion~i thi'.lt arc dc.oc;.ignqtcd as               !Lrt~,_:tly ob~;cr,,,.::-:!
     tllei:apy only for cerLiiifl J.:.-,:.\ical. ions (.c;(,L'. __ i. J':-' _ _]__~).

MLP REQUIRES COSIGN
     A restriction placed on some medications reqLiiring tl1at a f·hysician sign the
     medical record each l'..i.me this drug is p[c~scr U:ed.           Subs(-'!qc:r~nt: medication
     ord~rs for t·.his clruq mu:;t r1.l.t;o .lncl.ude th,,~ ni.qnatur.o of a ph~1sic.ic1n.




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                                                   Pngc 8 ol' 53
